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             IN THE UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF FLORIDA
                      ORLANDO DIVISION

PENGUIN RANDOM HOUSE LLC;
HACHETTE BOOK GROUP, INC.;
HARPERCOLLINS PUBLISHERS LLC;
MACMILLAN PUBLISHING GROUP, LLC;
SIMON & SCHUSTER, LLC; SOURCEBOOKS
LLC; THE AUTHORS GUILD; JULIA
ALVAREZ; JOHN GREEN; LAURIE HALSE
ANDERSON; JODI PICOULT; ANGIE
THOMAS; HEIDI KELLOGG as parent and next
friend of R.K.; and JUDITH ANNE HAYES as
parent and next friend of J.H.,

                            Plaintiffs,
                                                   Case No. _______________
                       v.
                                                   COMPLAINT
BEN GIBSON, in his official capacity as Chair of
the Florida State Board of Education; RYAN
PETTY, in his official capacity as Vice Chair of
the Florida State Board of Education; ESTHER
BYRD, GRAZIE P. CHRISTIE, KELLY GARCIA,
and MARYLYNN MAGAR, in their official
capacities as members of the Florida State Board
of Education; TERESA JACOBS, in her official
capacity as Chair of the Orange County School
Board; ANGIE GALLO, MARIA SALAMANCA,
ALICIA FARRANT, PAM GOULD, VICKI-
ELAINE FELDER, KAREN CASTOR DENTEL,
and MELISSA BYRD, in their official capacities
as members of the Orange County School Board;
JAMIE HAYNES, in her official capacity as
Chair of the Volusia County School Board;
ANITA BURNETTE, in her official capacity as
Vice Chair of the Volusia County School Board;
and RUBEN COLÓN, CARL PERSIS, and
JESSIE THOMPSON, in their official capacities
as members of the Volusia County School Board,

                            Defendants.
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      Plaintiffs Penguin Random House LLC; Hachette Book Group, Inc.;

HarperCollins Publishers LLC; Macmillan Publishing Group, LLC; Simon &

Schuster, LLC; Sourcebooks LLC; The Authors Guild; Julia Alvarez; John

Green; Laurie Halse Anderson; Jodi Picoult; Angie Thomas; Heidi Kellogg as

parent and next friend of R.K.; and Judith Anne Hayes as parent and next

friend of J.H., by their attorneys, for their Complaint against Defendants Ben

Gibson, in his official capacity as Chair of the Florida State Board of Education;

Ryan Petty, in his official capacity as Vice Chair of the Florida State Board of

Education; Esther Byrd, Grazie P. Christie, Kelly Garcia, and MaryLynn

Magar, in their official capacities as members of the Florida State Board of

Education; Teresa Jacobs, in her official capacity as Chair of the Orange

County School Board; Angie Gallo, Maria Salamanca, Alicia Farrant, Pam

Gould, Vicki-Elaine Felder, Karen Castor Dentel, and Melissa Byrd, in their

official capacities as members of the Orange County School Board; Jamie

Haynes, in her official capacity as Chair of the Volusia County School Board;

Anita Burnette, in her official capacity as Vice Chair of the Volusia County

School Board; and Ruben Colón, Carl Persis, and Jessie Thomson, in their

official capacities as members of the Volusia County School Board, state as

follows:




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                              INTRODUCTION

      1.    Maya Angelou’s I Know Why the Caged Bird Sings, Ralph Ellison’s

Invisible Man, Ernest Hemingway’s For Whom the Bell Tolls, Zora Neale

Hurston’s Their Eyes Were Watching God, Aldous Huxley’s Brave New World,

Toni Morrison’s The Bluest Eye, Leo Tolstoy’s Anna Karenina, Richard

Wright’s Native Son, Kurt Vonnegut’s Slaughter-House Five, and Alice

Walker’s The Color Purple are some of the many books that the State of Florida

has required be removed from school libraries.       These books are timeless

classics, renowned for their literary value. Many of them have won awards or

are bestsellers. They have been on the shelves of school libraries for years, and

they are not remotely obscene. But Florida has required these books and

others to be removed from school libraries under its broad, across-the-board,

content-based mandates that forbid consideration of the books’ value.

      2.    The First Amendment prohibits the suppression of “[s]peech that

is neither obscene as to youths nor subject to some other legitimate

proscription . . . solely to protect the young from ideas or images that a

legislative body thinks unsuitable for them. In most circumstances, the values

protected by the First Amendment are no less applicable when government

seeks to control the flow of information to minors.”       Erznoznik v. City of

Jacksonville, 422 U.S. 205, 213-14 (1975).



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      3.    The right to speak and the right to read are inextricably

intertwined. Authors have the right to communicate their ideas to students

without undue interference from the government.              Students have a

corresponding right to receive those ideas. Publishers and educators connect

authors to students. If the State of Florida dislikes an author’s idea, it can

offer a competing message. It cannot suppress the disfavored message.

      4.    Section 1006.28 of the Florida Statutes, as amended by House Bill

1069, violates the First Amendment rights of publishers, authors, and students

by forcing teachers, media specialists, and their school districts to remove

books or face penalties, including loss of licensure. House Bill 1069 is attached

as Exhibit A.

      5.    Section 1006.28 requires the removal of fiction and non-fiction

books alike, depriving Florida students from encountering books that portray

and describe critical aspects of the human experience.

      6.    This action concerns two provisions of Section 1006.28 that require

the removal of books from school libraries and classroom collections without

consideration of their value as a whole in violation of the First Amendment to

the United States Constitution. This lawsuit does not challenge any of the

numerous other provisions of Section 1006.28.

      7.    Rather than defer to trained professionals, such as teachers or

media specialists, to determine which books are appropriate for school and

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classroom libraries, Section 1006.28 automatically prohibits two categories of

books that are at issue in this lawsuit.

      8.    First, Section 1006.28 prohibits a category of school library books

that contain any content that “describes sexual conduct,” (a) without any

consideration of the book as a whole as the Supreme Court requires, Miller v.

California, 413 U.S. 15, 24 (1973), and (b) without specifying what level of

detail or type of description is necessary for a book to “describe[] sexual

conduct,” Fla. Stat. s. 1006.28(2)(a)(2)(b)(II).     For example, some school

districts have determined that books containing the phrase “made love” must

be removed under Section 1006.28 because the phrase “made love” describes

sexual conduct.

      9.    Second, Section 1006.28—as interpreted and enforced by the State

of Florida—prohibits school library books that contain so-called “pornographic”

content without consideration of the book as a whole as the Supreme Court

requires.   Fla. Stat. s. 1006.28(2)(a)(2)(b)(I).   The category that prohibits

“pornographic” content states in full that it prohibits content that “[i]s

pornographic or prohibited under s. 847.012.”         Section 847.012 prohibits

content that is “harmful to minors.” The Florida Statutes define the term




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“harmful to minors” to conform to the Supreme Court’s standard for content

that is obscene as to minors.1

      10.    Properly construed, “pornographic” content under Section 1006.28

is a synonym for content that is “harmful to minors.” In the alternative, if

“pornographic” content is construed to be distinct from content that is “harmful

to minors” despite being included in the same category, then “pornographic”

content is an empty and meaningless overbroad standard. Neither the Florida

Statutes nor case law defines the term “pornographic.”

      11.    Plaintiffs do not challenge the “harmful to minors” standard and

do not seek to prevent Florida school districts from ensuring that school

libraries do not contain obscene books. Moreover, parents of children in Florida

schools have long had the power to determine which books their children can

and cannot access in their school libraries. Instead, Plaintiffs take issue with

the removal of books under the guise of “pornography” that are not remotely

obscene,    resulting   from     the   Florida   State   Board   of   Education’s

unconstitutional construction of the term “pornographic.”

      12.    These two restrictions apply to all grades, kindergarten through

twelfth grade. By so broadly regulating the display and availability of books

that are constitutionally protected as to at least a significant number of


1 References within this complaint to the term “harmful to minors” refer to the

category of content that is prohibited under Section 847.012.
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students, these restrictions—as interpreted and enforced by the State of

Florida—violate the First Amendment because they are impermissibly

overbroad content-based restrictions.

      13.   The Publisher Plaintiffs and the Author Plaintiffs (as defined

below) have the First Amendment right to disseminate and have read their

constitutionally protected books and the Student Plaintiffs (as defined below)

have the First Amendment right to receive and read constitutionally protected

books, free from unconstitutional content-based restrictions mandated by the

State of Florida. Plaintiffs bring this action to safeguard their fundamental

rights and the rights of others under the First Amendment.

      14.   Plaintiffs seek a declaration that Section 1006.28’s prohibition on

content that “describes sexual conduct” is unconstitutionally overbroad in

violation of their rights under the First Amendment.

      15.   Plaintiffs also seek a declaration that the term “pornographic” is

synonymous with the term “harmful to minors” and therefore consistent with

the Supreme Court’s obscenity standard for minors or, in the event that the

construction of the term “pornographic” as synonymous with the term “harmful

to minors” is rejected, that Section 1006.28’s prohibition on “pornographic”

content is unconstitutionally overbroad in violation of their rights under the

First Amendment.



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      16.   Plaintiffs seek a speedy hearing on this declaratory judgment

action pursuant to Federal Rule of Civil Procedure 57.

                       JURISDICTION AND VENUE
      17.    This Court has jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1343 because this action is brought under 42 U.S.C. § 1983 and

seeks to vindicate civil rights protected by the First and Fourteenth

Amendments to the U.S. Constitution.

      18.    Venue is proper under 28 U.S.C. § 1391(b) because multiple

Defendants reside in this district, all Defendants are residents of the State in

which this district is located, and a substantial part of the events or omissions

giving rise to Plaintiffs’ claims occurred and are occurring in this district.

                                   PARTIES

      19.   Plaintiffs Penguin Random House LLC; Hachette Book Group,

Inc.; HarperCollins Publishers LLC; Macmillan Publishing Group, LLC; Simon

& Schuster, LLC; and Sourcebooks LLC (collectively the “Publisher Plaintiffs”)

are publishers whose books have been targeted for removal or removed from

school libraries throughout Florida as a result of Section 1006.28’s prohibition

on books with content that “describes sexual conduct” or “pornographic”

content.

      20.   Plaintiff Penguin Random House LLC (PRH), a Delaware limited

liability company headquartered in New York, is the U.S. arm of Penguin


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Random House, the world’s largest trade publisher, which comprises more

than 300 editorially and creatively independent publishing imprints globally.

PRH’s mission is to ignite a universal passion for reading by creating books for

everyone and creating a world where independent thinking, free expression,

and creativity flourish. PRH aims to publish books that provide children with

a gateway to the whole world, promoting literacy, fostering empathy, and

inspiring free and open debate. Continued inclusion of its books in public

school libraries and classroom collections is critical to PRH’s mission,

especially for books intended for elementary and young-adult readers.

      21.    Plaintiff Hachette Book Group, Inc. (“Hachette”) is a U.S. general-

interest book publisher headquartered in New York City.              Hachette’s

publishing groups include prominent imprints such as Little, Brown and

Company; Little; Brown Books for Young Readers; Grand Central Publishing;

Basic Books; Orbit; Running Press; Algonquin Books; and Workman. Hachette

is part of Hachette Livre, the world’s third-largest trade and educational

publisher.   Hachette’s books and authors have garnered major awards,

including the Pulitzer Prize, National Book Award, Caldecott Medal, Newbery

Medal, Booker Prize, and Nobel Peace Prize. Hachette’s publishing programs

aim to reflect the broad range of backgrounds, experiences, and viewpoints that

shape our society. Its mission is to make it easy for everyone to discover new

worlds of ideas, learning, entertainment, and opportunity, and it is

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fundamental to Hachette’s mission that its books remain accessible to students

in public school classrooms and libraries.

      22.   Plaintiff HarperCollins Publishers LLC (“HarperCollins”), a

subsidiary of News Corp, is the second largest consumer book publisher in the

world, with operations in 15 countries. With 200 years of history and more

than 120 branded imprints around the world, HarperCollins publishes

approximately 10,000 new books every year in 16 languages and has a print

and digital catalog of more than 250,000 titles. HarperCollins seeks to deliver

content that presents a diversity of voices and speaks to the global community.

Writing across dozens of genres, its authors include winners of the Nobel Prize,

the Pulitzer Prize, the National Book Award, the Newbery and Caldecott

Medals, and the Man Booker Prize.

      23.   Plaintiff Macmillan Publishing Group, LLC (“Macmillan”) is a

New York-based group of U.S. publishers that includes Celadon Books, Farrar,

Straus and Giroux, Flatiron Books, Henry Holt & Company, Macmillan Audio,

Macmillan Children’s Publishing Group, St. Martin’s Publishing Group and

Tor Books. The U.S. publishing group is part of Macmillan Publishers, a global

trade book publishing company with prominent imprints around the world.

Macmillan publishes a broad range of award-winning books for children and

adults in all categories and formats. Macmillan strongly advocates for the

right to read, uniting a broad community of authors, educators, librarians, and

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readers.    Macmillan strives to ensure access to diverse literary works,

highlighting the critical role of literacy in democracy, championing the

transformative power of books in fostering understanding, and working to

build an inclusive future.

      24.   Plaintiff Simon & Schuster, LLC (“S&S”), a global leader in

general interest publishing, is dedicated to providing the best in fiction and

nonfiction for readers of all ages, and in all printed, digital, and audio formats.

Its distinguished roster of authors includes many of the world’s most popular

and widely recognized writers, and winners of the most prestigious literary

honors and awards. It is home to numerous well-known imprints and divisions

such as Simon & Schuster, Scribner, Atria Books, Gallery Books, Adams

Media, Avid Reader Press, Simon & Schuster Children’s Publishing, and

Simon & Schuster Audio, and international companies in Australia, Canada,

India, the United Kingdom, and VBK in the Netherlands and Belgium. It

proudly brings the works of its authors to readers in more than 200 countries

and territories.   S&S is a New York limited liability company that is

headquartered in New York.

      25.   Plaintiff Sourcebooks, LLC (“Sourcebooks”) is the largest woman-

led publisher in the United States with offices in Illinois and New York.

Publishing both fiction and non-fiction for children, young adults, and adults

across 19 imprints and growing, Sourcebooks is committed to reaching readers

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with books that will illuminate, inspire, and enlighten lives and believes that

books change lives.

      26.   Plaintiff The Authors Guild (the "Guild") was founded in 1912 and

is a national non-profit association of more than 14,000 professional, published

writers of all genres. The Guild counts historians, biographers, academicians,

journalists, and other writers of non-fiction and fiction as members. The Guild

works to promote the rights and professional interest of authors in various

areas, including copyright, freedom of expression, and taxation. Many Guild

members earn their livelihoods through their writing.         Their work covers

important issues in history, biography, science, politics, medicine, business,

and other areas; they are frequent contributors to the most influential and

well-respected publications in every field. The ability to write on topics of their

choosing and to have their work available through bookstores and libraries,

including school libraries, is vital to their ability to make a living in their

chosen profession. Books written by the Guild’s members, including Plaintiffs

John Green, Jodi Picoult, and Angie Thomas, have been targeted for removal

or removed from school libraries throughout Florida as a result of Section

1006.28’s prohibition on books with content that “describes sexual conduct” or

“pornographic” content.

      27.   Plaintiffs Julia Alvarez, John Green, Laurie Halse Anderson, Jodi

Picoult, and Angie Thomas are authors whose books have been targeted for

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removal or removed from school libraries throughout Florida as a result of

Section 1006.28’s prohibition on books with content that “describes sexual

conduct” or “pornographic” content. Alvarez, Green, Halse Anderson, Picoult,

Thomas, and The Authors Guild are collectively referred to herein as the

“Author Plaintiffs.”

      28.    Plaintiff Julia Alvarez resides in Vermont. Alvarez has authored

over twenty books and is regarded as one of the most critically and

commercially successful Latina writers of my time. Alvarez’s works have been

recognized by young adults, critics, librarians, and educators and have been

featured on several best-seller lists and best-of lists over the course of her

career.     Alvarez has won numerous awards for her works and career

achievements, including the “Lamont Prize” from the Academy of American

Poets, the “Fitzgerald Award for Achievement in American Literature,” the

“PEN Oakland/Josephine Miles Literary Award,” the “Belpre Medal,” and the

“Hispanic Heritage Award in Literature.” Alvarez’s book How the García Girls

Lost Their Accents has been removed from school libraries in Florida under

Section 1006.28’s prohibition on so-called “pornographic” content.

      29.    Plaintiff John Green resides in Indiana. He is the author of seven

novels. His novels have sold more than 50 million copies in print worldwide,

and his novel The Fault in Our Stars is one of the best-selling books of all time.

Green has won awards such as the Edgar Alan Poe Award, the Corine

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Literature Prize, the Children’s Choice Book Awards, the Guardian’s

Children’s Fiction Prize, the Uruguayan Premio Bartolomé Hidalgo for “Best

children’s Youth [Book] by a foreign Author,” and the Young Reader’s Choice

Award. At least four of Green’s books have been removed from school libraries

in Florida under Section 1006.28’s prohibition on content that “describes

sexual conduct.”

      30.   Plaintiff Laurie Halse Anderson resides in Pennsylvania. She has

authored ten novels. Her novels have been selected for many best-of lists,

including in the New York Times, in Publishers Weekly, and on the American

Library Association’s (ALA) Amelia Bloomer List. Her novels have also been

recognized by the International Reading Association, the New York Public

Library, the Young Adult Library Services Association (YALSA), and the

Junior Library Guild. She has won the ALA Margaret A. Edwards Award, the

Anne V. Zarrow Award, the Scott O’Dell Award for Historical Fiction, and the

Astrid Lindgren Memorial Award during her distinguished career. Anderson’s

book Speak has been removed from school libraries in Florida under Section

1006.28’s prohibition on content that “describes sexual conduct.”

      31.   Plaintiff Jodi Picoult is a resident of New Hampshire. She has

authored 28 novels that have been translated into 34 languages and sold

approximately 40 million print copies worldwide. Picoult’s novels have been

selected for many best-of lists, including by The New York Times, Publishers

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Weekly, and YALSA. She has won awards such as the New England Bookseller

Award for Fiction, YALSA’s Alex Award, the Vermont Department of Libraries’

Green Mountain Book Award, Maryland Association of School Librarians’

Black-Eyed    Susan    Award,    Romance    Writers   of   America’s   Lifetime

Achievement Award for mainstream fiction, and the Sarah Josepha Hale

Award Medal. At least 20 of Picoult’s books have been removed from school

libraries in Florida under Section 1006.28’s prohibition on content that

“describes sexual conduct,” including in the School District of Volusia County

and the Orange County Public Schools.

      32.    Plaintiff Angie Thomas is a resident of Georgia. She has authored

four novels, each of which are New York Times #1 Bestsellers and have received

critical acclaim. Thomas was the inaugural winner of the Walter Dean Myers

Grant 2015, and her debut novel The Hate U Give won the ALA’s William C.

Morris Debut Award and the Boston Globe-Horn Book Award. Two books

written by Thomas have been removed from school libraries in Florida:

Concrete Rose under Section 1006.28’s prohibitions on content that “describes

sexual conduct” and “pornographic” content and The Hate U Give under

Section 1006.28’s prohibition on content that “describes sexual conduct.”

      33.    For each Author Plaintiff, school libraries are a critical means of

reaching their intended audiences and securing the broadest possible

readership. The Author Plaintiffs’ books, including those identified herein, are

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vehicles for their personal messages and ideas. The removal of their books

from school libraries, including the associated stigma, causes them personal

and professional harm.

      34.   Plaintiff Heidi Kellogg is a resident of Volusia County, Florida.

She is the mother, next friend, and general guardian of R.K., a senior at Deland

High School in Volusia County, Florida. During the 2023-2024 and 2024-2025

school years, R.K. wanted and had intended to check out specific books from

her school library or her teachers’ classroom libraries that were removed due

to Section 1006.28’s prohibitions on content that describes sexual conduct or

“pornographic” content, including Toni Morrison’s The Bluest Eye and Janet

Gurtler’s You Too? 25 Voices Share Their #MeToo Stories. Heidi Kellogg wants

R.K. to have access to these books and others like them so that she is presented

with different viewpoints and experiences and therefore so she is better

prepared to engage with a wide range of people. R.K. wants to have access to

these books and others like them for the same reasons.

      35.   Plaintiff Judith Anne Hayes is a resident of Orange County,

Florida. She is the mother, next friend, and general guardian of J.H., a junior

at William R. Boone High School in Orange County, Florida. During the 2023-

2024 and 2024-2025 school years, J.H. wanted and had intended to check out

specific books from his school library or his teachers’ classroom libraries that

were removed due to Section 1006.28’s prohibition on content that describes

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sexual conduct, including Gabriel García Márquez’s Love in the Time of

Cholera. Judith Anne Hayes wants J.H. to have access to these books and

others like them so that he is presented with different viewpoints and

experiences and therefore so he is better prepared to engage with a wide range

of people. J.H. wants to have access to these books and others like them for

the same reasons.

      36.    The Florida State Board of Education (the “State Board”) is the

chief governing body of public education in Florida (excluding universities and

colleges).

      37.    Florida law makes the State Board responsible for “enforc[ing]

compliance with law and state board rule by all school districts,” including by

overseeing district school boards’ enforcement of laws and board rules. Fla.

Stat. s. 1001.03(8), 1008.32(1).

      38.    The State Board appoints the Commissioner of Education, who is

tasked with investigating allegations of noncompliance with law or State

Board rule by school districts. Upon a determination that there is probable

cause of any such noncompliance, the Commissioner is to report that

determination to the State Board, which has authority to order compliance and

take other actions to punish noncompliance such withholding funds from

school districts. Fla. Stat. s. 1008.32(2)-(4).



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      39.   The State Board is ultimately responsible for reviewing decisions

made regarding objections to library books under Section 1006.28. A school

board’s decision is subject to review by a special magistrate who is appointed

by the Commissioner, and the State Board “must approve or reject the

recommended      decision”   by   the   special   magistrate.   Fla.   Stat.   s.

1006.28(2)(a)(6).

      40.   Section 1006.28 requires the State Board to adopt rules relating to

the objection and review process and to prescribe an “objection form” for school

districts to make available to objectors.

      41.   The State Board has prescribed an objection form, which requires

the objector to “[i]dentify the basis for your objection” under Section 1006.28

and lists multiple separate bases for objections for the objector to select,

including that the book (a) is “pornographic,” (b) is “prohibited under s.

847.012, F.S.” as harmful to minors, or (c) “depicts or describes sexual conduct

as defined in s. 847.001(19), F.S.” The State Board’s objection form is attached

as Exhibit B. The State Board’s rules mandate that school districts use this

objection form and that it “not be modified,” with exceptions for changes to the

title and changes to the appearance to assist in the ease of use. Fla. Admin.

Code r. 6A-7.0714(3)(a), (d). The part of the form that lists the bases for

objections “must not be modified by school districts.” Fla. Admin. Code r. 6A-

7.0714.

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      42.   The State Board meets throughout the State of Florida. In 2024,

three of the State Board’s eight meetings were held or are scheduled to be held

in Orange County, Florida.

      43.   Defendant Ben Gibson is the Chair and a member of the State

Board. Gibson resides in Leon County, Florida.

      44.   Defendant Ryan Petty is the Vice Chair and a member of the State

Board. Petty resides in Polk County, Florida.

      45.   Defendants Esther Byrd, Grazie P. Christie, Kelly Garcia, and

MaryLynn Magar are members of the State Board. Byrd resides in Duval

County, Florida. Christie resides in Miami-Dade County, Florida. Garcia

resides in Hillsborough County, Florida. Magar resides in Palm Beach County,

Florida.

      46.   The members of the State Board are sued in their official capacity

(the “State Defendants”).

      47.   Orange County Public Schools (“Orange County”) is governed by

the Orange County School Board.

      48.   Defendant Teresa Jacobs is the Chair and a member of the Orange

County School Board. Jacobs resides in Orange County, Florida.

      49.   Defendants Angie Gallo, Maria Salamanca, Alicia Farrant, Pam

Gould, Vicki-Elaine Felder, Karen Castor Dentel, and Melissa Byrd are



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members of the Orange County School Board. Gallo, Salamanca, Farrant,

Gould, Felder, Dentel, and Byrd reside in Orange County, Florida.

      50.   The members of the Orange County School Board (the “Orange

County Defendants”) are sued in their official capacities.

      51.   The School District of Volusia County (“Volusia County”) is

governed by the Volusia County School Board.

      52.   Defendant Jamie Haynes is the Chair and a member of the Volusia

County School Board. Haynes resides in Volusia County, Florida.

      53.   Defendant Anita Burnette is the Vice Chair and a member of the

Volusia County School Board. Burnette resides in Volusia County, Florida.

      54.   Defendants Ruben Colón, Carl Persis, and Jessie Thompson are

members of the Volusia County School Board. Colón, Persis, and Thompson

reside in Volusia County, Florida.

      55.   The members of the Volusia County School Board (the “Volusia

County Defendants”) are sued in their official capacities.

      56.   The Orange County Defendants and the Volusia County

Defendants are referred to collectively within as the “District Defendants.”

      57.   Florida law and the State Board mandate that district school

boards, including the District Defendants, ensure the removal of library books

that are prohibited under Section 1006.28, including any book that (a) “depicts



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or describes sexual conduct as defined in s. 847.001(19), F.S” or (b) is

“pornographic.”

                         FACTUAL ALLEGATIONS

                               School Libraries

      58.   School libraries are and have always been places of self-directed

learning.

      59.   School libraries are also central to a student’s First Amendment

right to access new ideas and information.

      60.   Matching students to books is an inherently individual exercise.

Not every book is for every student at every point in their life. For that reason,

each student has the right to choose whether to read any particular book from

a school library.

      61.   As the Supreme Court has recognized, the school library “is the

principal locus” of a student’s freedom “to inquire, to study and to evaluate, to

gain new maturity and understanding”—where a student can “explore the

unknown” and “discover areas of interest and thought not covered by the

prescribed curriculum.” Island Trees Union Free Sch. Dist. No. 26 v. Pico, 457

U.S. 853, 868-69 (1982) (plurality opinion).

      62.   The fact that schools are “educating the young for citizenship is

reason for scrupulous protection of Constitutional freedoms of the individual,

if we are not to strangle the free mind at its source and teach youth to discount

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important principles of our government as mere platitudes.” W. Virginia State

Bd. Of Educ. v. Barnette, 319 U.S. 624, 637 (1943).

      63.   In many locations, the concept of a school library predated the

public library, as “libraries run by local school districts were often intended to

make reading materials available not only to school children but to adults as

well.” Michael Kevane & William A. Sundstrom, The Development of Public

Libraries in the United States, 1870-1930: A Quantitative Assessment, INFO.

& CULTURE A J. OF HIST. 1, 7 (2012).

      64.   Melvil Dewey, inventor of the library cataloging system, explained

that a “collection of books in every schoolroom for everyday use is coming to be

considered an essential part of a school building’s furniture. These books

introduce children to the best literature of the world; they interest them in

other phases of any subject they may be studying than those set forth in their

text-books”; and they “familiarize the children with books and their use.”

Richard J. Peltz, Pieces of Pico: Saving Intellectual Freedom in the Public

School Library, 2005 BYU Educ. & L.J. 103, 114 (2005).

      65.   Florida’s Library Media and Instructional Materials Training

states that school library media centers must “provide a wide range of

materials on all levels of difficulty, with diversity of appeal, and with the

representation of different points of view.”



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      66.   The Florida Department of Education explains on its website that

“[o]ne of the goals of the school library media program is to provide intellectual

and physical access to a broad range of literature and informational reading

materials for personal pleasure and curriculum support.”

      67.   The Florida Department of Education further states, “Library

media programs aggressively support reading through a variety of promotional

and instructional strategies that are carefully crafted to meet the unique needs

of learners at each developmental stage.”

      68.   Manny Diaz, Jr., Florida Commissioner of Education, agrees that

schools are meant to enable “students [to] learn how to think and [to] receive

the tools necessary to go forth and make great decisions.”

      69.   In addition to separate school libraries, many Florida teachers

have a collection of books in their classrooms that are available for students to

borrow and read. Classroom libraries serve a similar purpose and function to

school libraries. References within this complaint to “school libraries” also

include classroom libraries.

            Overview of Section 1006.28 and House Bill 1069

      70.   On July 1, 2023, HB 1069 went into effect. HB 1069 is a broad

expansion of the State of Florida’s efforts to regulate the books that students

can access in school libraries under Section 1006.28 of the Florida Statutes.



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      71.    Prior to HB 1069, the State required school districts to remove

books that contained the following content: (I) “pornographic” content or

content that violates Section 847.012 “for any grade level or age group for

which such use is inappropriate or unsuitable,” (II) content that is not suited

to student needs and their ability to comprehend the material, or (III) content

that is inappropriate for the grade level and age group for which the material

is made available. Section 847.012 prohibits material “which is harmful to

minors,” which is defined as

      any reproduction, imitation, characterization, description, exhibition,
      presentation, or representation, of whatever kind or form, depicting
      nudity, sexual conduct, or sexual excitement when it:
            (a) Predominantly appeals to a prurient, shameful, or morbid
            interest;
            (b) Is patently offensive to prevailing standards in the adult
            community as a whole with respect to what is suitable material or
            conduct for minors; and
            (c) Taken as a whole, is without serious literary, artistic,
            political, or scientific value for minors.

Fla. Stat. s. 847.001(7).

      72.    Section 847.012 is based on the standard for obscenity that the

Supreme Court set forth in Miller v. California, 413 U.S. 15, 24 (1973), which

defines obscene material as “limited to works” that (a) “taken as a whole,

appeal to the prurient interest in sex”; (b) “portray sexual conduct in a patently

offensive way; and” (c) “taken as a whole, do not have serious literary, artistic,

political, or scientific value.”


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      73.    HB 1069 drastically expanded the content that the State prohibits

in school libraries.

      74.    Under HB 1069, the State created a new category of content that

it prohibits in school libraries: content that depicts or describes sexual conduct,

without regard for the Supreme Court’s three-part test for obscenity.

      75.    HB 1069 also no longer allows school districts to consider

appropriateness and suitability when determining whether books contain

content that is “pornographic” or “harmful to minors.”                 The term

“pornographic” remains in the same category as “harmful to minors” and

remains undefined.

      76.    HB 1069 expands the processes through which school library books

must be removed.       For example, following a parent’s or county resident’s

objection to a school library book on the basis of “pornographic” content,

content that violates Section 847.012, or content that “depicts or describes

sexual conduct,” HB 1069 requires school districts to automatically remove the

book pending resolution of the objection. HB 1069 also creates a process that

requires school districts to remove a school library book if a district school

board prohibits a parent from reading passages from that book at a school

board meeting.

      77.    Through these processes and others, HB 1069 enables parents and

county residents to exercise control over the books that all children in the

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school can access—not just their own children, and even if they do not have

any children who attend that school.

      78.   Parents of children in Florida schools have long had the power to

determine which books their children can and cannot access in their school

libraries. Certain school districts, like Pinellas County Schools, permit parents

to limit their children’s access to the entire school library, requiring children

to seek their parents’ permission prior to checking out any library books. Other

districts, such as Polk County Public Schools, permit parents to decide each

semester which particular books in the school library their children may check

out and which they may not.

      79.   In enacting HB 1069, the State has mandated that school districts

impose a regime of strict censorship in school libraries. HB 1069 requires

school districts to remove library books without regard to their literary,

artistic, political, scientific, or educational value when taken as a whole. As a

result of HB 1069, hundreds of different titles have been removed from school

libraries across the State.

      80.   HB 1069 incentivizes school districts to remove many more books

than the First Amendment allows. Under HB 1069 and the supervision and

authority of the State Defendants, school districts must create a policy to

implement the process for receiving and resolving objections to school library

books. That objection process requires the use of school resources, including

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large amounts of employee time. Consequently, HB 1069 incentivizes school

districts to preemptively remove school library books rather than wait to

engage in the time-consuming objection-resolution process. Some teachers

have removed all of the books in their classroom libraries to avoid any objection

to or controversy surrounding those books due to HB 1069. Media specialists

have done the same—removing books to avoid objections and controversies

arising from HB 1069—to avoid jeopardizing their licensure.

      81.   HB 1069 also gives school districts financial incentives to remove

library books.   Under the objection-resolution process, a school district’s

decision regarding an objection to a library book can be appealed to a special

magistrate who is appointed by the Commissioner of Education. The special

magistrate reviews a school board’s resolution of an objection following an

appeal by a parent. The cost of the special magistrate is borne by school

districts. The State has interpreted this appeal process to make the special

magistrate available only when a school district decides to overrule a parent’s

or county resident’s objection—to keep a school library book on the shelves—

not when a school district decides to remove a school library book. HB 1069

therefore incentivizes schools to err on the side of removing books in the

objection-resolution process—rather than retaining them—to avoid incurring

the cost of the special magistrate.



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      82.   The State Defendants have ultimate authority over a school

district’s decision to remove a library book under HB 1069. Following a special

magistrate’s review of a school board’s resolution of an objection, HB 1069

requires the special magistrate to render a recommended decision concerning

the objection to the State Defendants. The State Defendants then ”must

approve or reject the recommended decision” of the special magistrate. Fla.

Stat. s. 1006.28(2)(a)(6).

      83.   Annually, beginning on June 30, 2023, school districts are required

to report to the Commissioner of Education a list of (1) all material to which

the school district received an objection, (2) all material that was removed or

discontinued from school libraries, and (3) all material that was not removed

or discontinued, including the rationale for not removing or discontinuing the

material. Fla. Stat. s. 1006.28(2)(e)(3).

      84.   Following receipt of the school districts’ reports, the Florida

Department of Education is required to publish and “regularly update” a list

of materials that school districts removed as a result of an objection under HB

1069 for the school districts’ “consideration in their selection procedures.” Id.

                  Content That Describes Sexual Conduct

      85.   Section 1006.28 as amended by HB 1069 requires the removal of

school library books that “contain[] content which . . . describes sexual conduct



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as defined in s. 847.001(19).” Fla. Stat. s. 1006.28(2)(a)(2)(b)(II). Section

847.001(19) defines “sexual conduct” as

      actual or simulated sexual intercourse, deviate sexual intercourse,
      sexual bestiality, masturbation, or sadomasochistic abuse; actual or
      simulated lewd exhibition of the genitals; actual physical contact with a
      person’s clothed or unclothed genitals, pubic area, buttocks, or, if such
      person is a female, breast with the intent to arouse or gratify the sexual
      desire of either party; or any act or conduct which constitutes sexual
      battery or simulates that sexual battery is being or will be committed.

      86.    The prohibition on content that describes sexual conduct did not

exist in Section 1006.28 prior to HB 1069.

      87.    Section 1006.28’s prohibition of content that describes sexual

conduct disregards the Miller obscenity standard and does not account for the

value of the book as whole or the book’s literary, scientific, medical, artistic, or

political value.

      88.    Section 1006.28 requires school districts to remove books

containing content that describes sexual conduct. Although school districts

may continue using books containing content that describes sexual conduct “for

any grade level or age group for which such use is []appropriate or []suitable,”

see Fla. Stat. s. 1006.28(2)(a), Section 1006.28 does not require school districts

to continue to make available books that they have determined are appropriate

and suitable.

      89.    The term “describes sexual conduct” is vague and ambiguous. In

particular, the term “describes” in relation to “sexual conduct” provides no

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easily understood line as to which types of statements constitute a description

of sexual conduct. The term “describes sexual conduct” is so broad that it would

require removal of the Oxford English Dictionary—which defines “sex” as

“physical activity between two people in which they touch each other’s sexual

organs, and which may include sexual intercourse”—from school libraries. The

Oxford English Dictionary, however, is not obscene.

      90.   It is also not clear, for example, whether the phrase “made love” is

sufficiently specific in describing sexual conduct such that Section 1006.28

requires the removal of a book containing that phrase. School districts, erring

on the side of caution, have removed books using that phrase. For example,

Collier County Public Schools determined that it was required to remove

Ernest Hemingway’s In Our Time, published by Simon & Schuster, under

Section 1006.28 because that book merely uses the phrase “made love” and

therefore “describes sexual conduct.”

      91.   This vagueness and ambiguity result in overbroad interpretations

of Section 1006.28’s prohibition on content that describes sexual conduct and

chill protected speech.

                           “Pornographic” Content

      92.   Section 1006.28 also requires the removal of school library books

that “contain[] content which” is “pornographic” or “prohibited under s.

847.012.” Fla. Stat. s. 1006.28(2)(a)(2)(b)(I).

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      93.    Section 847.012 prohibits material that is “harmful to minors,”

which is defined as

      any reproduction, imitation, characterization, description, exhibition,
      presentation, or representation, of whatever kind or form, depicting
      nudity, sexual conduct, or sexual excitement when it:
            (a) Predominantly appeals to a prurient, shameful, or morbid
            interest;
            (b) Is patently offensive to prevailing standards in the adult
            community as a whole with respect to what is suitable material or
            conduct for minors; and
            (c) Taken as a whole, is without serious literary, artistic,
            political, or scientific value for minors.

Fla. Stat. s. 847.001(7).

      94.    The “harmful to minors” standard is based on the standard for

obscenity that the Supreme Court set forth in Miller v. California, 413 U.S. 15,

24 (1973), which defines obscene material as “limited to works” that (a) “taken

as a whole, appeal to the prurient interest in sex”; (b) “portray sexual conduct

in a patently offensive way; and” (c) “taken as a whole, do not have serious

literary, artistic, political, or scientific value.”

      95.    Whereas the term “harmful to minors” is defined to satisfy the

Supreme Court’s Miller standard, neither HB 1069, Section 1006.28, or any

other Florida law defines the term “pornographic.”

      96.    The Florida Department of Education’s Library Media and

Instructional Materials Training, which is mandatory for all Florida media

specialists, states that “[w]hile there is no statutory definition of pornography


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in the Florida Statutes, the Merriam-Webster dictionary defines it as ‘the

depiction of erotic behavior (as in pictures or writing) intended to cause sexual

excitement.’”

      97.   The term “pornographic”—if not construed to be a synonym for

“harmful to minors”—bears no relation to the Miller test for obscenity, which

is the applicable legal standard. Many of the books being removed from school

libraries under the State Board’s construction of “pornographic” content—such

as Kurt Vonnegut’s Slaughterhouse-Five, Richard Wright’s Native Son, and

Toni Morrison’s Song of Solomon—do not remotely satisfy the Miller standard

for obscenity.

      98.   The State Board’s construction of “pornographic” content goes far

beyond prohibiting books that are obscene as to minors because it requires the

removal of books without any holistic evaluation or consideration of their

literary, artistic, political, or scientific value.   Under the State Board’s

construction of “pornographic” content, highly regarded books—even ones that

have been on shelves for many decades—must be removed from school libraries

in Florida even if the books taken as a whole are not obscene.

      99.   When applied to students, the Miller obscenity standard must

account for the age of the reader. For example, a book that is obscene as to a

third-grade student may not be obscene as to a high school student. See

Virginia v. Am. Booksellers Ass’n, Inc., 488 U.S. 905 (1988); Am. Booksellers

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Ass’n, Inc. v. Virginia, 882 F.2d 125 (4th Cir. 1989), cert. denied, 494 U.S. 1056

(1990). The First Amendment prohibits suppression of

      [s]peech that is neither obscene as to youths nor subject to some other
      legitimate proscription . . . solely to protect the young from ideas or
      images that a legislative body thinks unsuitable for them. In most
      circumstances, the values protected by the First Amendment are no less
      applicable when government seeks to control the flow of information to
      minors.

Erznoznik v. City of Jacksonville, 422 U.S. 205, 213-14 (1975).

      100. Section 1006.28, as amended by HB 1069 and as construed by the

State Board, precludes schools from considering the age of the potential reader

of books that contain “pornographic” content, in violation of the First

Amendment. Prior to HB 1069, Florida law permitted school libraries to make

available books for any grade level or age group for which the books were

appropriate and suitable. HB 1069 removes this discretion and prohibits any

material that contains so-called “pornographic” content for all students in

kindergarten through twelfth grade, regardless of age, and even if that

material would be appropriate or suitable for certain grades and ages.

Compare Fla. Stat. s. 1006.28(2)(a)(2) with Fla. Stat. s. 1006.28(2)(a)(2) (2022).

      101. A law that regulates or prohibits speech must sufficiently define

terms so that ordinary people can understand what conduct is prohibited and

enforcers of the regulation are able to enforce the law in a non-arbitrary, non-

discriminatory manner. F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239,


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253 (2012).     “When speech is involved, rigorous adherence to those

requirements is necessary to ensure that ambiguity does not chill protected

speech.” Id.

      102. Contrary to the interpretation of “pornographic” mandated by the

State Board, “pornographic” should be construed to be a synonym for “harmful

to minors.” In Section 1006.28, the terms “pornographic” and “prohibited

under s. 847.012” [harmful to minors] are separated only by the word “or,”

which “commonly introduces a synonym or ‘definitional equivalent.’”

McCarthan v. Dir. of Goodwill Indus.-Suncoast, Inc., 851 F.3d 1076, 1088 (11th

Cir. 2017).

      103. Construing “pornographic” as a synonym for “harmful to minors”

is supported by canons of statutory interpretation, which counsel against

reaching constitutional issues when an alternative reasonable statutory

construction is available.     The Supreme Court has instructed that the

“elementary rule is that every reasonable construction must be resorted to, in

order to save a statute from unconstitutionality” and that the “corollary

doctrine” is that a “statute must be construed, if fairly possible, so as to avoid

not only the conclusion that it is unconstitutional but also grave doubts upon

that score.” Rust v. Sullivan, 500 U.S. 173, 190-91 (1991) (emphasis,

quotations, and citations omitted).



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      104. In addition, the Florida legislature’s decision to include content

that is “pornographic” in the same category as content that is “harmful to

minors” supports the terms being synonymous.

      105. The State Board’s construction of “pornographic” content is vague

and ambiguous. In particular, the term “pornographic”—as construed by the

State Board—provides no easily understood line as to which types of

statements in a book are sufficient to require its removal as “pornographic.”

      106. This vagueness and ambiguity have resulted in unconstitutionally

overbroad interpretations of the prohibition on “pornographic” content and

chill protected speech.

                              Removal Mechanisms

      107. Section 1006.28 establishes multiple processes through which

school library books must be removed for containing content that describes

sexual conduct or “pornographic” content.

      108. First, Section 1006.28 imposes an affirmative burden on school

districts on their own initiative to remove books from school libraries that

contain content that describes sexual conduct or “pornographic” content. See,

e.g., Fla. Stat. s. 1006.28(2)(a)(1)-(2), (d)(2)(d).

      109. Second, Section 1006.28 permits parents and county residents to

object to the inclusion of particular books in a school library on the basis of

content that describes sexual conduct or “pornographic” content.       Once a

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parent or county resident submits an objection that a book contains content

that describes sexual conduct or “pornographic” content, the school district

must remove the book within five school days—even if the school district has

not evaluated the objection and even if the objection is clearly frivolous. Fla.

Stat. s. 1006.28(2)(a)(2).

      110. Third, books that have been temporarily removed pursuant to an

objection must remain “unavailable to students of that school until the

objection is resolved.” Id. But Florida law does not specify any time frame by

which school districts must resolve objections, meaning that books that have

been “temporarily” removed pursuant to an objection may actually be removed

indefinitely.

      111. For example, Santa Rosa County School District has not yet

developed a policy to resolve objections to books that purportedly contain

content that describes sexual conduct or “pornographic” content. That school

district has removed books within five days of receiving an objection that a

book purportedly contains content that describes sexual conduct or

“pornographic” content, but it cannot evaluate or resolve the objection until it

has a policy to do so. In some cases, a book has been “temporarily removed”

from a library shelf for at least a year (since HB 1069’s temporary removal

process became effective).



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      112. Volusia County has implemented a policy that requires parents or

county residents who object to school library books for purportedly containing

content that describes sexual conduct or “pornographic” content to meet with

the school principal following an objection.    Parents and county residents

determine the timing of that meeting. For example, an objector submitted

objections to books that purportedly contain content that describes sexual

conduct or “pornographic” content at the beginning of the 2023-2024 school

year and scheduled a meeting with the principal for the end of the school year,

ensuring that the books to which she objected remained unavailable for the

entire 2023-2024 school year.

      113. Because books have been removed under Section 1006.28 for entire

semesters or school years without being reviewed, those removals are

effectively permanent removals for many students.

      114. Finally, following an objection, parents have “the right to read

passages” from the book that is subject to the objection.         Fla. Stat. s.

1006.28(2)(a)(2). If the school board does not permit a parent to read a passage

from a book because of content that describes sexual conduct or “pornographic”

content, Section 1006.28 requires the school district to remove that book from

the school library. Id. In this way, Section 1006.28 disregards the book’s value

as a whole, and instead requires the removal of school library books based on



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a single sentence or passage from that book divorced from its context and

overall value contrary to the Miller standard for obscenity.

      115. While Florida law requires school districts to consider the “age of

the students who normally could be expected to have access to the materials”

in the selection of library media, Fla. Stat. s. 1006.34(2)(b)(1), this statutory

provision does not apply to the removal of school library books.

                 Penalties and Florida’s Culture of Fear

      116. Section 1006.28’s overbroad restrictions have contributed to a

culture of fear throughout Florida’s education communities.

      117. Books that are required to be removed under the prohibitions on

content that describes sexual conduct or content that is “pornographic” as

construed by the State Board are stigmatized, without regard for their value

as a whole or their literary, artistic, historical, medical, or educational value

as the Supreme Court requires.

      118. Training materials from Florida’s mandatory media specialist

training repeatedly encourage media specialists to “[e]rr on the side of caution”

in removing books from school libraries to comply with Section 1006.28.

      119. Florida Governor Ron DeSantis has also stated that, in his view,

noncompliance with Section 1006.28 could result in felony charges for

educators.



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      120. The State repeatedly informs educators that it can and will pursue

felony charges against educators who do not comply with the vague and

overbroad requirements of Section 1006.28. Those reminders cause school

districts, media specialists, and other educators to “err on the side of caution”

in removing school library books, as the State has instructed.

      121. Media specialists and other educators who retain library books

that may implicate the prohibitions on content that describes sexual conduct

or so-called “pornographic” content—or whose libraries previously contained

books that were later removed under those prohibitions—risk being

stigmatized. Media specialists and other educators in Florida who oppose

censorship have received threats, including at their residences, from

emboldened proponents of censorship who seek to inhibit others’ children from

reading school library books.

      122. Media specialists and other educators who do not comply with the

vague and overbroad requirements of Section 1006.28 risk penalties at the

hands of the Education Practices Commission.          Those penalties include

revocation or suspension of their teaching certificates, imposition of an

administrative fine of up to $2,000 for each separate offence, and probation.

Fla. Stat. s. 1012.796(a)-(f).

      123. At least one school district—Leon County—has considered

prohibiting students from checking out any book at the beginning of the school

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year until it can ensure that it is abiding by Section 1006.28. Rocky Hanna,

Superintendent of Leon County School District, has stated that he does not

want to remove or limit access to library books that “could be academically

beneficial and impactful for a child,” but that he believes that he must do so

because of Section 1006.28 and out of fear that his district is “found in violation

of the law and targeted by the DOE and the governor.”

      124. Another school district—Orange County—warned its media

specialists that they “are tasked with protecting [their] colleagues,

[themselves], and OCPS to ensure content being made available to students is

in compliance with Florida Statutes.”

      125. Educators who are already afraid of official state action or action

by vigilante members of the public fear the loss of their credentials and

livelihood and even threats to their safety.

      126. Florida’s culture of fear has massive consequences for the First

Amendment rights of publishers, authors, students, and others.             As the

members of the chief governing body of public education in Florida, the State

Defendants are responsible for the injury to Plaintiffs’ and others’ First

Amendment rights arising from Section 1006.28.

                  The Effects Of HB 1069/Section 1006.28

      127. Section 1006.28’s broad prohibitions of school library books with

content that “describes sexual conduct” and so-called “pornographic” content—

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as construed by the State Defendants—have required the removal from school

libraries of award-winning books, classic books that have been on school library

shelves for decades, and books that are commonly included on Advanced

Placement (AP) exams.

      128. These two library book prohibitions require the removal of

renowned, pedagogically important books that are not remotely obscene.

      129. A selection of books written by the Author Plaintiffs that were

required to be removed from school libraries under Section 1006.28—Alvarez’s

How the García Girls Lost Their Accents, Green’s Looking for Alaska,

Anderson’s Speak, Picoult’s Nineteen Minutes and Change of Heart, and

Thomas’s Concrete Rose and The Hate U Give—demonstrates its substantially

broad reach.

      130. Alvarez’s book How the García Girls Lost Their Accents, published

by Hachette, is a novel that traces the journey of the four García sisters as they

are forced to flee their home due to political turmoil and grapple with the

challenges of assimilation and cultural identity. How the García Girls Lost

Their Accents explores themes of exile, identity, and the generational clashes

that arise from the immigrant experience and delves into the profound impact

of displacement and the quest for self-identity.         It has won the PEN

Oakland/Josephine Miles Literary Award, which recognizes outstanding

multicultural literary works published in the United States; was listed among

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the “100 Essential Books of the 20th Century” by the New York Public Library,

which underscores the novel’s significance and impact on contemporary

literature; was selected as one of the Best Books for Young Adults by the

American Library Association; and is commonly included on AP exams. How

the García Girls Lost Their Accents has been removed from school libraries

under Section 1006.28’s prohibition on “pornographic” content since HB 1069

went into effect. How the García Girls Lost Their Accents has been removed

from school libraries in at least two school districts in Florida since HB 1069

went into effect.

      131. Green’s book Looking for Alaska, published by PRH, is a coming-

of-age school story and teen romance about a boarding school student who gets

bullied. This New York Times bestselling novel won the ALA’s Michael L.

Printz Award and was a finalist for the Los Angeles Times Book Prize. Looking

for Alaska featured on the ALA’s Top Ten Best Book for Young Adults, the

YALSA’s Teen’s Top Ten Award, and the ALA’s Quick Pick for Reluctant Young

Adult Readers. It has been named a New York Public Library Book for the

Teen Age, a Booklist Editor’s Choice Pick, and a Borders Original Voices

Selection. Looking for Alaska has been removed from school libraries under

Section 1006.28’s prohibition on content that “describes sexual conduct” since

HB 1069 went into effect. Looking for Alaska has been removed from school



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libraries in at least seven school districts in Florida since HB 1069 went into

effect.

      132. Anderson’s book Speak, published by Macmillan, is a young adult

fiction novel based on Anderson’s personal experience of having been sexually

assaulted as a teenager and the resulting trauma. Speak explores themes of

identity, finding one’s voice, trauma, and healing by reclaiming the narrative.

Speak won the Golden Kite Award and a Michael Printz Honor and was named

as a finalist for the Edgar Allen Poe Award, the Los Angeles Times Book Prize,

and the National Book Award for Young People’s Literature. Speak was also

named an ALA Best Book for Young Adults and listed in the ALA’s Top Ten

Best Books for Young Adults. Speak is also commonly included in AP exams.

Speak has been removed from school libraries under Section 1006.28’s

prohibition on content that “describes sexual conduct” since HB 1069 went into

effect. Speak has been removed from school libraries in at least five school

districts in Florida since HB 1069 went into effect.

      133. Picoult’s book Nineteen Minutes, published by Simon & Schuster,

centers on a school shooting and demonstrates the devastating ramifications

of failing a child who has been “othered.” Through Peter Houghton, who has

been mercilessly bullied for most of his life, and Josie Cormier, who is being

physically and sexually abused by her boyfriend, Nineteen Minutes shows that

marginalization can take many different forms. Nineteen Minutes debuted at

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#1 on the New York Times Bestseller list and has since won several awards,

including being selected as an “Outstanding Book for the College Bound and

Lifelong Learners” by the American Library Association. Nineteen Minutes

has been removed from school libraries in the School District of Volusia County

under Section 1006.28’s prohibition on content that “describes sexual conduct”

since HB 1069 went into effect. Nineteen Minutes has been removed from

school libraries in at least 15 school districts in Florida since HB 1069 went

into effect.

      134. Picoult’s book Change of Heart, published by Simon & Schuster,

tells the story of character Shay Bourne, a death row prisoner who seeks to

redeem himself by donating his heart post-execution to the sister of his victim,

who needs a heart transplant. Change of Heart focuses on organized religion

and belief and explores themes of loss, redemption, religion, spirituality, and

punishment. Change of Heart is frequently tested on AP exams; earned Picoult

the “Christopher Award,” which is presented to the authors of books that

affirm the highest values of the human spirit; and was selected as an

“Outstanding Book for the College Bound and Lifelong Learners” by the

American Library Association. Change of Heart has been removed from school

libraries in the Orange County under Section 1006.28’s prohibition on content

that “describes sexual conduct” since HB 1069 went into effect. Change of



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Heart has been removed from school libraries in at least two school districts in

Florida since HB 1069 went into effect.

      135. Thomas’s book Concrete Rose, published by HarperCollins, tells

the powerful and emotional story of Maverick Carter as he navigates the

challenges of fatherhood, loyalty, and personal growth.          At seventeen,

Maverick is dealing with the dual pressures of school and his role in the King

Lords, a local gang, when he discovers he is going to be a father. Determined

to break the cycle of violence and provide a better life for his child, Maverick

grapples with the complexities of his circumstances and the expectations

placed upon him. Concrete Rose invokes themes of family, responsibility, and

resilience and is a raw, compelling, and ultimately hopeful exploration of what

it means to grow up and make difficult decisions in the face of overwhelming

odds. Concrete Rose earned the Goodreads Choice Award for Best Young Adult

Fiction; the Coretta Scott King Author Honor, which recognizes outstanding

books by African American authors that promote an understanding and

appreciation of the African American experience; and the Michael L. Printz

Award Honor, which is given by the American Library Association for

excellence in literature written for young adults, highlighting the novel’s

literary quality and relevance. Concrete Rose is commonly included on AP

exams. Concrete Rose has been removed from school libraries under Section

1006.28’s prohibitions on content that “describes sexual conduct” and

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“pornographic” content since HB 1069 went into effect. Concrete Rose has been

removed from school libraries in at least four school districts in Florida since

HB 1069 went into effect.

      136. Thomas’s book The Hate U Give, published by HarperCollins, is a

groundbreaking and powerful novel that dives deep into the complexities of

race, identity, and social justice in contemporary America. The story follows

Starr Carter, a sixteen-year-old girl who navigates between two worlds—the

impoverished neighborhood where she lives and the affluent, predominantly

white private school she attends—when she witnesses the fatal shooting of her

childhood friend by a police officer. The novel explores themes of systemic

racism, police brutality, and the power of activism through Starr’s courageous

journey. The book is not only a story of personal growth and resilience but also

a call to action, highlighting the importance of using one’s voice to fight against

oppression and demand change. The Hate U Give has earned the William C.

Morris Award, given by the American Library Association to honor a debut

book published by a first-time author writing for teens; the Michael L. Printz

Honor, which recognizes excellence in literature written for young adults; the

Coretta Scott King Author Honor, which acknowledges outstanding books by

African American authors that promote an understanding and appreciation of

the African American experience; the Amelia Elizabeth Walden Award, which

is presented by the Assembly on Literature for Adolescents and celebrates a

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book that exemplifies literary merit; and the Goodreads Choice Award for

Young Adult Fiction. The Hate U Give has sold over 5 million copies worldwide

and spent 249 weeks on the New York Times bestseller list. It has been

published in 28 languages and is commonly included on AP exams. The Hate

U Give has been removed from school libraries under Section 1006.28’s

prohibition on content that “describes sexual conduct” since HB 1069 went into

effect. The Hate U Give has been removed from school libraries in at least 10

school districts in Florida since HB 1069 went into effect.

      137. Section 1006.28’s prohibitions on content that “describes sexual

conduct” and content that is “pornographic”—as construed by the State

Defendants—also requires school districts to remove classic, award-winning

books and books that are commonly covered in AP exams, such as The Color

Purple, Native Son, The Kite Runner, Beloved, The Bluest Eye, Love in the Time

of Cholera, and This Is Where It Ends. A law that requires the removal of books

from school libraries that are covered in AP exams disadvantages Florida

students and serves no legitimate purpose.

      138. The Color Purple, written by Alice Walker and published by PRH,

is a critically acclaimed novel that tells the story of a poor, young, uneducated

African-American girl named Celie who lives in rural Georgia in the early

1900s. The novel details Celie’s encounters with racism, sexism, abuse, and

challenges to her own sexuality. The Color Purple won the 1983 Pulitzer Prize

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for Fiction and the National Book Award for Fiction. The Color Purple has

been removed by school districts under Section 1006.28’s prohibitions on

“pornographic” content and content that “describes sexual conduct” since HB

1069 went into effect. The Color Purple has been removed from school libraries

in at least three school districts in Florida since HB 1069 went into effect.

      139. Native Son, written by Richard Wright and published by

HarperCollins, is a powerful, award-winning novel. Set in Chicago in the

1930s, Native Son is the story of Bigger Thomas, a young Black man whose life

spirals downward after he kills a young white woman in a moment of panic.

This novel both condemns social and racial injustice and paints an unsparing

portrait of the Black experience in America, revealing the tragic effects of

poverty, racism, and hopelessness on the human spirit. Native Son has been

removed by school districts under Section 1006.28’s prohibition on content that

“describes sexual conduct” since HB 1069 went into effect. Native Son has been

removed from school libraries in at least four school districts in Florida since

HB 1069 went into effect.

      140. The Kite Runner, written by Khaled Hosseini and published by

PRH, tells the story of Amir, a young boy from Kabul, in the backdrop of

turbulent events, from the fall of Afghanistan’s monarchy through the Soviet

invasion, the exodus of refugees to Pakistan and the United States, and the

rise of the Taliban regime. This New York Times bestselling novel explores

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themes of friendship, betrayal, guilt, redemption, and father-son relationships.

The novel won the South African Boeke Prize, was twice voted Reading Group

Book of the Year, and has been adapted into a motion picture and play. The

Kite Runner has been removed by school districts under Section 1006.28’s

prohibition on content that “describes sexual conduct” since HB 1069 went into

effect. The Kite Runner has been removed from school libraries in at least 10

school districts in Florida since HB 1069 went into effect.

      141. Beloved, written by Toni Morrison and published by PRH, is set in

the period after the American Civil War and tells the story of a family of

formerly enslaved people whose Cincinnati home is haunted by a malevolent

spirit.   The novel explores themes of mother-daughter relationships, the

psychological effects of slavery, the effect of slavery on African-American

families, manhood and masculinity, pain and generational trauma, and

heroism. Beloved won the Pulitzer Prize for Fiction and the Anisfield-Wolf

Book Award and was a National Book Award Finalist. The novel has been

adapted into a motion picture and was ranked by The New York Times as the

best work of American fiction from 1981 to 2006. Toni Morrison was awarded

the Nobel Prize in Literature in 1993. Beloved is frequently included on AP

exams. Beloved has been removed by school districts under Section 1006.28’s

prohibition on content that “describes sexual conduct” since HB 1069 went into



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effect. Beloved has been removed from school libraries in at least 10 school

districts in Florida since HB 1069 went into effect.

      142. The Bluest Eye, written by Toni Morrison and published by PRH,

is set in 1941 and tells the story of a young African American girl who, against

the backdrop of a country that seems to prefer blond, blue-eyed children, prays

for her eyes to turn blue. The Bluest Eye examines an obsession with beauty

and conformity and confronts themes of racism, class, and gender. The Bluest

Eye is frequently included on AP exams. The Bluest Eye has been removed

from school libraries in Volusia County under Section 1006.28’s prohibition on

“pornographic” content since HB 1069 went into effect. The Bluest Eye has

been removed from school libraries in at least 10 school districts in Florida

since HB 1069 went into effect.

      143. Love in the Time of Cholera, written by Gabriel García Márquez

and published by PRH, explores the complexities and endurance of love over

the span of more than half a century. Set in a Caribbean seaport, the story

revolves around the lives of Florentino Ariza and Fermina Daza, who fall in

love in their youth but are separated by circumstance and societal

expectations. Love in the Time of Cholera is a timeless narrative that explores

themes such as social inequality, aging, mortality, and morality. It celebrates

the power of love and the resilience of the human spirit. In 1982, Gabriel

García Márquez was awarded the Nobel Prize in Literature for his body of

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work, including Love in the Time of Cholera. Love in the Time of Cholera is a

New York Times Bestseller and is frequently listed among the greatest literary

works of the 20th century. Love in the Time of Cholera has been removed from

school libraries in Orange County under Section 1006.28’s prohibition on

content that “describes sexual conduct” since HB 1069 went into effect. Love

in the Time of Cholera has been removed from school libraries in at least two

school districts in Florida since HB 1069 went into effect.

      144. This Is Where It Ends, written by Marieke Nijkamp and published

by Sourcebooks, is a young adult novel that tells the gripping and harrowing

story of a school shooting in a small town in Alabama. The book is unique in

its narrative structure, as it unfolds over a 54-minute period and is told from

the perspectives of four students who are all directly impacted by the tragic

event. Through the perspectives of four narrators, the book delves into themes

of trauma, loss, resilience, and the power of human connection in the face of

unimaginable horror. This Is Where It Ends is a New York Times Bestseller,

and National Indie Bestseller, and a Publishers Weekly Bestseller. It is also a

2016 Cybils Awards Finalist in Young Adult Fiction, a 2016 ABC Best Book for

Young Readers, and a Goodreads Choice Awards Finalist in Best Young Adult

Fiction. This Is Where It Ends has been removed from school libraries in at

least one school district in Florida under Section 1006.28’s prohibition on

content that “describes sexual conduct” since HB 1069 went into effect.

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      145. Under Section 1006.28’s prohibitions on content that “describes

sexual conduct” and “pornographic” content, school districts have also been

required to remove nonfiction books such as history books, biographies, and

memoirs, including Maya Angelou’s I Know Why the Caged Bird Sings, Mark

Mathabane’s Kaffir Boy: The True Story of a Black Youth’s Coming of Age in

Apartheid South Africa, Erin Gruwell’s The Freedom Writers Diary: How a

Teacher and 50 Teens Used Writing to Change Themselves and the World

Around Them, Erik Larson’s The Splendid and the Vile, and Janet Gurtler’s

You Too? 25 Voices Share Their #MeToo Stories.

      146. I Know Why the Caged Bird Sings by Maya Angelou, published by

PRH, is a memoir that chronicles the early years of the renowned poet and

author, including her traumatic childhood, marked by racial discrimination,

sexual abuse, and abandonment. Central to Angelou’s story is her unyielding

spirit, the strength she draws from her love of literature and language, and the

human capacity for resilience and transformation. I Know Why the Caged Bird

Sings is an essential and enduring work in American literature and explores

themes such as race, identity, and the quest for freedom. I Know Why the

Caged Bird Sings was nominated for the prestigious National Book Award for

Biography. It is also an Autobiography Hall of Fame Inductee and a One Book,

One Community Selection because it is frequently selected for community

reading programs, which underscores its enduring relevance and educational

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value. I Know Why the Caged Bird Sings is frequently included on AP exams.

I Know Why the Caged Bird Sings has been removed by school districts under

Section 1006.28’s prohibition on content that “describes sexual conduct” since

HB 1069 went into effect. I Know Why the Caged Bird Sings has been removed

from school libraries in at least four school districts in Florida since HB 1069

went into effect.

      147. Mark Mathabane’s Kaffir Boy: The True Story of a Black Youth’s

Coming of Age in Apartheid South Africa, published by Simon & Schuster, is a

memoir that chronicles the author’s childhood and adolescence under

apartheid in South Africa. Born in 1960 in the impoverished township of

Alexandra, Mathabane recounts the brutal realities of living in a system

designed to oppress and dehumanize black South Africans. The memoir vividly

depicts the daily struggles his family faced, including extreme poverty,

violence, and systemic racism.        Despite the oppressive environment,

Mathabane’s determination to escape the cycle of poverty and discrimination

drives him to pursue education against all odds and leads him to excel

academically, eventually earning a scholarship to an American university.

Kaffir Boy is both an educational resource and an inspiring testament to the

resilience of the human spirit, highlighting the transformative power of

education and the enduring fight for justice and equality. Kaffir Boy has

earned the Christopher Award for media that affirms the highest value of the

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human spirit and been recognized as one of the American Library Association’s

Best Books for Young Adults, which recognizes powerful storytelling and

impact on young adult readers. Kaffir Boy is also a New York Times Bestseller

and is frequently included on AP exams. Kaffir Boy has been removed by

school districts under Section 1006.28’s prohibition on content that “describes

sexual conduct” since HB 1069 went into effect. Kaffir Boy has been removed

from school libraries in at least three school districts in Florida since HB 1069

went into effect.

      148. Erin Gruwell’s The Freedom Writers Diary: How a Teacher and 50

Teens Used Writing to Change Themselves and the World Around Them,

published by PRH, is a collection of real-life diary entries from a group of high

school students in Long Beach, California.       Under the guidance of their

dedicated teacher, Erin Gruwell, these students—who once faced seemingly

insurmountable challenges such as gang violence, poverty, and racial

tension—begin to find their voices and change their lives through the power of

writing.   The students’ journey is marked by profound moments of self-

discovery, empathy, and empowerment as they learn to see themselves and

each other in new, more compassionate ways. The Freedom Writers Diary is

not just a testament to the power of education but also a moving tribute to the

human spirit’s ability to overcome adversity. The Freedom Writers Diary has

earned the Christopher Award for media that affirms the highest values of the

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human spirit, and its impact on education and its inspiration for teachers and

students is widely recognized. The Freedom Writers Diary has been removed

from school libraries in Volusia County under Section 1006.28’s prohibition on

content that “describes sexual conduct” since HB 1069 went into effect. The

Freedom Writers Diary has been removed from school libraries in at least seven

school districts in Florida since HB 1069 went into effect.

      149. Erik Larson’s The Splendid and the Vile, published by PRH, is a

meticulously researched historical narrative that chronicles Winston

Churchill’s first year as Prime Minister of Britain during the harrowing days

of World War II. Through diaries, archival documents, and firsthand accounts,

Larson paints a compelling picture of Churchill’s indomitable spirit and

strategic acumen and the unwavering resolve that inspired a country to stand

firm in its darkest hour. Interspersed with Churchill’s political and military

maneuvers are the personal struggles and triumphs of his family and close

advisors, providing a humanizing glimpse into the lives of those who lived

through the Blitz. The Splendid and the Vile is an essential read for history

enthusiasts and anyone interested in the remarkable story of Britain’s defiance

and survival during World War II. The Splendid and the Vile is a New York

Times Bestseller; was named one of the best books of 2020 by the Washington

Post, the Economist, and Time; and has earned the Goodreads Choice Award

for History & Biography. The Splendid and the Vile is frequently included on

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AP exams. The Splendid and the Vile has been removed from school libraries

in Orange County under Section 1006.28’s prohibition on content that

“describes sexual conduct” since HB 1069 went into effect.

      150. You Too? 25 Voices Share Their #MeToo Stories, edited by Janet

Gurtler and published by HarperCollins, is a compelling anthology that brings

together diverse voices to share their personal experiences with sexual

harassment and assault. The anthology features a range of contributors, from

well-known authors and activists to everyday people, each offering a unique

perspective on the impact of sexual violence. The stories reflect the pain,

resilience, and strength of survivors.        Through their narratives, the

contributors address the societal norms and systemic issues that perpetuate

abuse, while also highlighting the importance of solidarity and support. You

Too? has been removed from school libraries in Volusia under Section 1006.28’s

prohibition on content that “describes sexual conduct” since HB 1069 went into

effect. You Too? has been removed from school libraries in at least two school

districts in Florida since HB 1069 went into effect.

      151. Other notable books that were removed from school libraries under

Section 1006.28’s prohibitions on content that “describes sexual conduct” and

so-called “pornographic” content are Anna Karenina, written by Leo Tolstoy

and published by Macmillan; Brave New World, written by Aldous Huxley and

published by HarperCollins; Forever, written by Judy Blume and published by

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Simon & Schuster; Invisible Man, written by Ralph Ellison and published by

PRH; The Sun Also Rises, written by Ernest Hemingway and published by

Simon & Schuster; and Their Eyes Were Watching God, written by Zora Neale

Hurston and published by HarperCollins.

      152. Orange County determined that Section 1006.28’s prohibition on

content that “describes sexual conduct” required it to remove school library

books such as Bel Canto, written by Ann Patchett and published by

HarperCollins and Demian, written by Herman Hesse and published by

Macmillan.

      153. Volusia County determined that Section 1006.28’s prohibition on

“pornographic” content required it to remove school library books such as

Slaughterhouse-Five, written by Kurt Vonnegut and published by PRH.

      154. Each of these books, when considered as a whole, has great value

for student readers, and none of these books is obscene.

             The First Amendment Applies In School Libraries

      155. School libraries in Florida schools are at least nonpublic forums.

In nonpublic forums, the State cannot impose restrictions on speech that are

unreasonable in light of the forum’s purpose. Minnesota Voters All. v. Mansky,

585 U.S. 1, 12, 16 (2018).

      156. The Free Speech Clause of the First Amendment, as incorporated

by the Fourteenth Amendment, prohibits state statutes that restrict a

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substantial amount of protected speech in the course of regulating unprotected

speech. Such statutes are unconstitutionally overbroad. Moody v. NetChoice,

LLC., 144 S. Ct. 2383, 2397 (2024) (citing Americans for Prosperity Found. v.

Bonta, 594 U.S. 595, 615 (2021)). In assessing an overbreadth claim, a court

“must evaluate the full scope of the law’s coverage[,] decide which of the law’s

applications are constitutionally permissible and which are not, and finally

weigh the one against the other.” Id. at 2409. Under this test, statutes are

overbroad when they are categorically untailored to any legitimate State

interest. See Bonta, 594 U.S. at 615.

      157. A statute that requires the content-based removal of school library

books without regard to the value of the books as a whole is not constitutionally

permissible.

      158. Section 1006.28’s prohibitions on content that “describes sexual

conduct” and so-called “pornographic” content—as construed by the State

Defendants—appear to be based on the State of Florida’s interest in preventing

students from accessing sexually explicit materials in school libraries.

      159. Section 1006.28 separately advances this interest by prohibiting

school library books that are “harmful to minors.” The “harmful to minors”

standard accounts for the value of books as a whole and is consistent with the

Supreme Court’s obscenity standard as applied to minors.



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      160. Section 1006.28’s prohibitions on content that “describe sexual

conduct” and “pornographic” content—as construed by the State Defendants—

limit substantially more books than would be limited by the Supreme Court’s

obscenity standard as applied to minors and do not allow consideration of the

value of books as a whole.

      161. Section 1006.28’s prohibitions on content that “describes sexual

conduct” and “pornographic” content—as construed by the State Defendants—

result in the sweeping removal of a substantial volume of protected school

library books in comparison to the minimal number of books that could

permissibly be removed.

      162. Section 1006.28’s prohibitions on content that “describes sexual

conduct” and “pornographic” content—as construed by the State Defendants—

are categorically untailored to any legitimate State interest because they

categorically require the broad, content-based removal of school library books

without consideration for their value as a whole.

      163. Further, in the setting of a public school library, the First

Amendment “protects the right to receive information and ideas.” Island Trees

Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 867-68 (1982) (plurality

opinion). This right is violated when a school district or school board removes

or restricts access to library books “in a narrowly partisan or political manner,”

and for the purpose of “deny[ing] students access to ideas with which” the

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school district or school board disagrees or to “prescribe what shall be

orthodox.” Id. at 870-71. This right is also violated by state laws that prohibit

school libraries from containing categories of books based on the book’s content

without regard to the value of a book as a whole.

                            CAUSES OF ACTION

  COUNT I – PLAINTIFFS PRH, HARPERCOLLINS, MACMILLAN,
   SIMON & SCHUSTER, SOURCEBOOKS, ANDERSON, GREEN,
  PICOULT, THOMAS, THE GUILD, HEIDI KELLOGG AS PARENT
    AND NEXT FRIEND OF R.K., AND JUDITH ANNE HAYES AS
              PARENT AND NEXT FRIEND OF J.H.,
              AGAINST THE STATE DEFENDANTS
          First Amendment, Impermissible Overbroad
                   Content-Based Restriction
            (Content That Describes Sexual Conduct)

      164. Paragraphs 1-163 are incorporated by reference as if fully set forth

herein.

      165. Section 1006.28’s prohibition on content that describes sexual

conduct is a content-based restriction because it regulates the availability of

books in school libraries based on “the topic discussed, or the idea or message

expressed”—namely, whether the book contains a description of sexual

conduct. Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015). See also Reno v.

Am. Civ. L. Union, 521 U.S. 844, 849, 868 (1997) (holding that statutory

provisions restricting “indecent” and “patently offensive” communications on

the Internet were “content-based blanket restriction[s] on speech”).




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      166. The prohibition on content that describes sexual conduct violates

the Free Speech Clause of the First Amendment to the U.S. Constitution, as

incorporated by the Fourteenth Amendment, because it is not reasonable in

light of the purpose of school libraries.

      167. The prohibition on content that describes sexual conduct is

overbroad because it prohibits a substantially broad swath of constitutionally

protected material in comparison to its very few legitimate applications.

      168. The prohibition on content that describes sexual conduct is

overbroad because it covers any book with content that describes sexual

conduct for all students of all age groups without regard to (a) whether the

book when “taken as a whole, appeal[s] to the prurient interest in sex,” (b)

whether the book “portray[s] sexual conduct in a patently offensive way,” or (c)

whether the book when “taken as a whole, [has] serious literary, artistic,

political, or scientific value,” as that standard applies to minors. Miller, 413

U.S. at 24.

      169. The prohibition on content that describes sexual conduct applies

to all books in school libraries and all students across-the-board, prohibiting

school districts from considering the age of the potential reader.          That

restriction prevents all students (including students who have reached the age

of majority) from checking out those books at school, rather than requiring

parents who seek to prevent their children from accessing those books to

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inform a school district that their children should not be allowed to access those

books.

      170. Further, the term “describes sexual conduct” is vague and

confusing because it provides no guidance as to what types of statements

contain sufficient descriptions of sexual conduct or what level of detail is

necessary to implicate the prohibition on content that describes sexual

conduct. Because the State threatens to penalize media specialists who do not

comply with the law, those media specialists—as well as other Florida

educators—must decide whether to remove books that purportedly contain

content that describes sexual conduct in violation of the First Amendment

rights of publishers, authors, students, and others, or to risk loss of licensure

for refusing to do so.

      171. As a result of the vagueness of the term “describes sexual conduct”

when combined with the substantial penalties that the State threatens to

impose on media specialists, constitutionally protected materials are and will

be suppressed in much greater numbers than unprotected material and First

Amendment rights are chilled, injuring Plaintiffs and others.

      172. The prohibition on content that describes sexual conduct violates

the rights of the Publisher Plaintiffs and the Author Plaintiffs under the First

and Fourteenth Amendments to the U.S. Constitution because it interferes

with their ability to make their books available to readers and to distribute

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constitutionally protected books, and it chills those plaintiffs and others from

engaging in protected activity.

      173. The prohibition on content that describes sexual conduct also

violates the rights of R.K. and J.H. under the Free Speech Clause of the First

Amendment, as incorporated by the Fourteenth Amendment, because it

interferes with their right to receive information in their school libraries and

it chills them from engaging in protected activity.

      174. Heidi Kellogg wants her child R.K., a student in Volusia County,

to be able to check out and read from R.K.’s school or classroom libraries books

that have been targeted for removal or removed under Section 1006.28’s

prohibition on content that describes sexual conduct, including You Too? 25

Voices Share Their #MeToo Stories. Heidi Kellogg also wants R.K. to be able

to possess, read, and discuss those books in school without incurring the stigma

associated with having, reading, or discussing books that have been falsely

branded as “pornographic” or otherwise inappropriate.

      175. R.K. likewise wants to be able to check out and read from her

school or classroom libraries books that have been targeted for removal or

removed under Section 1006.28’s prohibition on content that describes sexual

conduct, including You Too? 25 Voices Share Their #MeToo Stories. R.K. also

wants to be able to possess, read, and discuss those books in school without



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incurring the stigma associated with having, reading, or discussing books that

have been falsely branded as “pornographic” or otherwise inappropriate.

      176. R.K. intended to check out these books from her school or

classroom libraries this school year, but she has been unable to do so as a result

of the prohibition on content that describes sexual conduct.

      177. Judith Anne Hayes wants her child J.H., a student in Orange

County, to be able to check out and read from J.H.’s school or classroom

libraries books that have been targeted for removal or removed under Section

1006.28’s prohibition on content that describes sexual conduct, including Love

in the Time of Cholera. Judith Anne Hayes also wants J.H. to be able to

possess, read, and discuss those books in school without incurring the stigma

associated with having, reading, or discussing books that have been falsely

branded as “pornographic” or otherwise inappropriate.

      178. J.H. likewise wants to be able to check out and read from his school

or classroom libraries books that have been targeted for removal or removed

under Section 1006.28’s prohibition on content that describes sexual conduct,

including Love in the Time of Cholera. J.H. also wants to be able to possess,

read, and discuss those books in school without incurring the stigma associated

with having, reading, or discussing books that have been falsely branded as

“pornographic” or otherwise inappropriate.



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        179. J.H. intended to check out these books from his school or classroom

libraries this school year, but he has been unable to do so as a result of the

prohibition on content that describes sexual conduct.

        180. The State Defendants have mandated that school libraries not

contain books with content that describes sexual conduct and are ultimately

responsible for enforcing that mandate.

        181. The unlawful conduct of the State Defendants has injured the

rights of R.K., J.H., and other students attending school in Florida school

districts to access information and ideas within their school and classroom

libraries. It has also stigmatized other students as it has stigmatized R.K. and

J.H.

        182. An actual and substantial controversy as to the constitutionality

of Section 1006.28’s prohibition on content that describes sexual conduct exists

between Plaintiffs on the one hand and the State Defendants on the other

hand.

        183. Because Section 1006.28’s prohibition on content that describes

sexual conduct infringes on the First Amendment rights of publishers, authors,

parents, and students—including Plaintiffs—there is sufficient immediacy and

reality to warrant the issuance of a declaratory judgment finding that Section

1006.28’s    prohibition   on   content    that   describes   sexual   conduct   is

unconstitutional.

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      184. Declaratory relief as to the constitutionality of Section 1006.28’s

prohibition on content that describes sexual conduct would clarify and settle

the legal relations in issue and would terminate and afford relief from the

uncertainty, insecurity, and controversy giving rise to the proceeding.

   COUNT II – PLAINTIFFS PRH, HACHETTE, HARPERCOLLINS,
    MACMILLAN, ALVAREZ, THOMAS, THE GUILD, AND HEIDI
         KELLOGG AS PARENT AND NEXT FRIEND OF R.K.
               AGAINST THE STATE DEFENDANTS
    Statutory Construction – “Pornographic” Is Synonymous With
                        “Harmful To Minors”

      185. Paragraphs 1-163 are incorporated by reference as if fully set forth

herein.

      186. Section 1006.28 prohibits school library books that contain content

that “[i]s pornographic or prohibited under s. 847.012.”          Fla. Stat. s.

1006.28(2)(a)(2)(b)(I). Section 847.012 prohibits content that is “harmful to

minors,” which is defined to conform to the Supreme Court’s standard for

content that is obscene as to minors. Fla. Stat. s. 847.012; 847.001(7).

      187. Properly construed, “pornographic” content under Section 1006.28

is a synonym for content that is “harmful to minors.”

      188. In Section 1006.28, the terms “pornographic” and “prohibited

under s. 847.012” are separated only by the word “or,” indicating that

“pornographic” and “harmful to minors” are synonyms or definitional




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equivalents. McCarthan v. Dir. of Goodwill Indus.-Suncoast, Inc., 851 F.3d

1076, 1088 (11th Cir. 2017).

      189. The Supreme Court’s canons of statutory interpretation confirm

that the term “pornographic” should be construed as a synonym for “harmful

to minors.” The Supreme Court has instructed that the “elementary rule is

that every reasonable construction must be resorted to, in order to save a

statute from unconstitutionality” and that the “corollary doctrine” is that a

“statute must be construed, if fairly possible, so as to avoid not only the

conclusion that it is unconstitutional but also grave doubts upon that

score.” Rust v. Sullivan, 500 U.S. 173, 190-91 (1991) (emphasis, quotations,

and citations omitted).

      190. The Florida legislature’s decision to include content that is

“pornographic” in the same category as content that is “harmful to minors”

rather than in a separate category is consistent with the terms being

synonymous.

      191. The State Defendants have construed the term “pornographic” to

be separate and distinct from the term “harmful to minors,” as evidenced by

the separate categories for “pornographic” content and content that is

“prohibited under s. 847.012” on the State Board-promulgated objection form,

which the State Board mandates all school districts adopt. Under the State

Board’s construction of Section 1006.28, as evidenced by the State Board’s

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objection form, a book could contain content that is “pornographic” but not be

“prohibited under s. 847.012.” The State Defendants have mandated that

school libraries not contain books with “pornographic” content, and they are

ultimately responsible for enforcing that mandate.

      192. The State Defendants’ construction of “pornographic” content

violates the rights of the Publisher Plaintiffs and the Author Plaintiffs under

the Free Speech Clause of the First Amendment, as incorporated by the

Fourteenth Amendment, because it interferes with the Publisher Plaintiffs’

and Author Plaintiffs’ ability to make their books available to readers and to

distribute constitutionally protected books, and it chills those plaintiffs and

others from engaging in protected activity.

      193. The prohibition on “pornographic” content as construed by the

State Defendants also violates the rights of R.K. under the Free Speech Clause

of the First Amendment, as incorporated by the Fourteenth Amendment,

because it interferes with her right to receive information in her school library,

including The Bluest Eye, and it chills her from engaging in protected activity.

The unlawful conduct of the State Defendants has injured the rights of R.K.

and other students attending school in Florida school districts to access

information and ideas within their school and classroom libraries.




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      194. An actual and substantial controversy exists as to the meaning of

the term “pornographic” under Section 1006.28 between Plaintiffs on the one

hand and the State Defendants on the other hand.

      195. Because the State Defendants’ construction of the term

“pornographic” under Section 1006.28 infringes on the First Amendment rights

of publishers, authors, parents, and students—including Plaintiffs—there is

sufficient immediacy and reality to warrant the issuance of a declaratory

judgment finding that the term “pornographic” as used in Section 1006.28 is

synonymous with the term “harmful to minors.”

      196. Declaratory relief as to the meaning of “pornographic” would

clarify and settle the legal relations at issue and would terminate and afford

relief from the uncertainty, insecurity, and controversy giving rise to the

proceeding.

   COUNT III – PLAINTIFFS PRH, HACHETTE, HARPERCOLLINS,
    MACMILLAN, ALVAREZ, THOMAS, THE GUILD, AND HEIDI
         KELLOGG AS PARENT AND NEXT FRIEND OF R.K.
               AGAINST THE STATE DEFENDANTS
     First Amendment, Impermissible Overbroad Content-Based
                           Restriction
                    (“Pornographic” Content)

      197. Paragraphs 1-163 are incorporated by reference as if fully set forth

herein.




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      198. This Count is pled in the alternative to Count II, in the event the

construction of the term “pornographic” as synonymous with the term “harmful

to minors” is rejected.

      199. Section 1006.28’s prohibition of “pornographic” content is a

content-based restriction because it regulates the availability of books in school

libraries based on “the topic discussed, or the idea or message expressed”—

namely, whether the book contains undefined “pornographic content.” Reed v.

Town of Gilbert, 576 U.S. 155, 163 (2015). See also Reno v. Am. Civ. L. Union,

521 U.S. 844, 849, 868 (1997) (holding that statutory provisions restricting

“indecent” and “patently offensive” communications on the Internet were

“content-based blanket restriction[s] on speech”).

      200. The prohibition on “pornographic” content violates the Free

Speech Clause of the First Amendment to the U.S. Constitution, as

incorporated by the Fourteenth Amendment, because it is not reasonable in

light of the purpose of school libraries.

      201. The prohibition on “pornographic” content is overbroad because it

prohibits a substantially broad swath of constitutionally protected material in

comparison to its very few, if any, legitimate applications.

      202. Section 1006.28 requires that books that contain “pornographic

content” be removed from school libraries or not selected for school libraries in

the first place.

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      203. The prohibition on “pornographic” content prohibits any school

library book with content that could be considered “pornographic” without

regard to (a) whether the book when “taken as a whole, appeal[s] to the

prurient interest in sex,” (b) whether the book “portray[s] sexual conduct in a

patently offensive way,” or (c) whether the book when “taken as a whole, [has]

serious literary, artistic, political, or scientific value,” as that standard applies

to minors. Miller, 413 U.S. at 24.

      204. The prohibition on “pornographic” content applies to all books in

school libraries and all students across-the-board, prohibiting school districts

from considering the age of the potential reader. That restriction prevents all

students (including students who have reached the age of majority) from

checking out those books at school, rather than requiring parents who seek to

prevent their children from accessing those books to inform a school district

that their children—and only their children—should not be allowed to access

those books.

      205. Further, the term “pornographic” is vague and confusing because

it provides no guidance as to what types of statements constitute a violation of

the prohibition on “pornographic” content. Because the State threatens to

penalize media specialists who do not comply with the law, those media

specialists—as well as other Florida educators—must decide whether to

remove books that purportedly contain “pornographic” content in violation of

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the First Amendment rights of publishers, authors, students, and others, or to

risk loss of licensure for refusing to do so.

      206. As a result of the vagueness of the term “pornographic” when

combined with the substantial penalties that the State threatens to impose on

media specialists, constitutionally protected materials are and will be

suppressed in much greater numbers than unprotected material and First

Amendment rights are chilled, injuring Plaintiffs and others.

      207. The prohibition on “pornographic” content violates the rights of the

Publisher Plaintiffs and the Author Plaintiffs under the Free Speech Clause of

the First Amendment, as incorporated by the Fourteenth Amendment, because

it interferes with the Publisher Plaintiffs’ and Author Plaintiffs’ ability to make

their books available to readers and to distribute constitutionally protected

books, and it chills those plaintiffs and others from engaging in protected

activity.

      208. The prohibition on “pornographic” content also violates the rights

of R.K. under the Free Speech Clause of the First Amendment, as incorporated

by the Fourteenth Amendment, because it interferes with her right to receive

information in her school library and it chills her from engaging in protected

activity.

      209. Heidi Kellogg wants her child R.K., a student in Volusia, to be able

to check out and read from R.K.’s school or classroom libraries books that have

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been targeted for removal or removed under Section 1006.28’s prohibition on

“pornographic” content, including The Bluest Eye. Heidi Kellogg also wants

R.K. to be able to possess, read, and discuss those books in school without

incurring the stigma associated with having, reading, or discussing books that

have been falsely branded as “pornographic” or otherwise inappropriate.

      210. R.K. likewise wants to be able to check out and read from her

school or classroom libraries books that have been targeted for removal or

removed under Section 1006.28’s prohibition on “pornographic” content,

including The Bluest Eye. R.K. also wants to be able to possess, read, and

discuss those books in school without incurring the stigma associated with

having, reading, or discussing books that have been falsely branded as

“pornographic” or otherwise inappropriate.

      211. R.K. intended to check out these books from her school or

classroom libraries this school year, but she has been unable to do so as a result

of the prohibition on “pornographic” content.

      212. The State Defendants have mandated that school libraries not

contain books with “pornographic” content and are ultimately responsible for

enforcing that mandate.

      213. The unlawful conduct of the State Defendants has injured the

rights of R.K. and other students attending school in Florida school districts to



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access information and ideas within their school and classroom libraries. It

has also stigmatized other students as it has stigmatized R.K.

      214. An actual and substantial controversy as to the constitutionality

of Section 1006.28’s prohibition on “pornographic” content exists between

Plaintiffs on the one hand and the State Defendants on the other hand.

      215. Because Section 1006.28’s prohibition on “pornographic” content

infringes on the First Amendment rights of publishers, authors, parents, and

students—including Plaintiffs—there is sufficient immediacy and reality to

warrant the issuance of a declaratory judgment finding that Section 1006.28’s

prohibition on “pornographic” content is unconstitutional.

      216. Declaratory relief as to the constitutionality of Section 1006.28’s

prohibition on “pornographic” content would clarify and settle the legal

relations at issue and would terminate and afford relief from the uncertainty,

insecurity, and controversy giving rise to the proceeding.

   COUNT IV – PLAINTIFFS PRH, HARPERCOLLINS, SIMON &
   SCHUSTER, PICOULT, THE GUILD, AND HEIDI KELLOGG AS
             PARENT AND NEXT FRIEND OF R.K.
       AGAINST THE VOLUSIA COUNTY DEFENDANTS
          First Amendment, Impermissible Overbroad
                  Content-Based Restriction
           (Content That Describes Sexual Conduct)

      217. Paragraphs 1-163 are incorporated by reference as if fully set forth

herein.



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      218. Section 1006.28’s prohibition on content that describes sexual

conduct is a content-based restriction because it regulates the availability of

books in school libraries based on “the topic discussed, or the idea or message

expressed”—namely, whether the book contains a description of sexual

conduct. Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015). See also Reno v.

Am. Civ. L. Union, 521 U.S. 844, 849, 868 (1997) (holding that statutory

provisions restricting “indecent” and “patently offensive” communications on

the Internet were “content-based blanket restriction[s] on speech”).

      219. The prohibition on content that describes sexual conduct violates

the Free Speech Clause of the First Amendment to the U.S. Constitution, as

incorporated by the Fourteenth Amendment, because it is not reasonable in

light of the purpose of school libraries.

      220. The prohibition on content that describes sexual conduct is

overbroad because it prohibits a substantially broad swath of constitutionally

protected material in comparison to its very few legitimate applications.

      221. The prohibition on content that describes sexual conduct is

overbroad because it covers any book with content that describes sexual

conduct for all students of all age groups without regard to (a) whether the

book when “taken as a whole, appeal[s] to the prurient interest in sex,” (b)

whether the book “portray[s] sexual conduct in a patently offensive way,” or (c)

whether the book when “taken as a whole, [has] serious literary, artistic,

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political, or scientific value,” as that standard applies to minors. Miller, 413

U.S. at 24.

      222. The prohibition on content that describes sexual conduct applies

to all books in school libraries and all students across-the-board, prohibiting

school districts from considering the age of the potential reader.           That

restriction prevents all students (including students who have reached the age

of majority) from checking out those books at school, rather than requiring

parents who seek to prevent their children from accessing those books to

inform a school district that their children should not be allowed to access those

books.

      223. Further, the term “describes sexual conduct” is vague and

confusing because it provides no guidance as to what types of statements

contain sufficient descriptions of sexual conduct or what level of detail is

necessary to constitute content that “describes sexual conduct.” Because the

State threatens to penalize media specialists who do not comply with the law,

those media specialists—as well as other Florida educators—must decide

whether to remove books that purportedly contain content that describes

sexual conduct in violation of the First Amendment rights of publishers,

authors, students, and others, or to risk loss of licensure for refusing to do so.

      224. As a result of the vagueness of the term “describes sexual conduct”

when combined with the substantial penalties that the State threatens to

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impose on media specialists, constitutionally protected materials are and will

be suppressed in much greater numbers than unprotected material and First

Amendment rights are chilled, injuring Plaintiffs and others.

      225. The prohibition on content that describes sexual conduct violates

the rights of the Publisher Plaintiffs and the Author Plaintiffs under the First

and Fourteenth Amendments to the U.S. Constitution because it interferes

with their ability to make their books available to readers and to distribute

constitutionally protected books, and it chills those plaintiffs and others from

engaging in protected activity.

      226. The prohibition on content that describes sexual conduct also

violates the rights of R.K. under the Free Speech Clause of the First

Amendment, as incorporated by the Fourteenth Amendment, because it

interferes with her right to receive information in her school library and it

chills her from engaging in protected activity.

      227. Heidi Kellogg wants her child R.K., a student in Volusia, to be able

to check out and read from R.K.’s school or classroom libraries books that have

been targeted for removal or removed under Section 1006.28’s prohibition on

content that describes sexual conduct, including You Too? 25 Voices Share

Their #MeToo Stories. Heidi Kellogg also wants R.K. to be able to possess,

read, and discuss those books in school without incurring the stigma associated



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with having, reading, or discussing books that have been falsely branded as

“pornographic” or otherwise inappropriate.

      228. R.K. likewise wants to be able to check out and read from her

school or classroom libraries books that have been targeted for removal or

removed under Section 1006.28’s prohibition on content that describes sexual

conduct, including You Too? 25 Voices Share Their #MeToo Stories. R.K. also

wants to be able to possess, read, and discuss those books in school without

incurring the stigma associated with having, reading, or discussing books that

have been falsely branded as “pornographic” or otherwise inappropriate.

      229. R.K. intended to check out these books from her school or

classroom libraries this school year, but she has been unable to do so as a result

of the prohibition on content that describes sexual conduct.

      230. The Volusia County Defendants are responsible for enforcing the

State mandate that school libraries not contain books with content that

describes sexual conduct.

      231. The unlawful conduct of the Volusia County Defendants has

injured the rights of R.K. and other students attending school in Florida school

districts to access information and ideas within their school and classroom

libraries. It has also stigmatized other students as it has stigmatized R.K.

      232. An actual and substantial controversy as to the constitutionality

of Section 1006.28’s prohibition on content that describes sexual conduct exists

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between Plaintiffs on the one hand and the Volusia County Defendants on the

other hand.

      233. Because Section 1006.28’s prohibition on content that describes

sexual conduct infringes on the First Amendment rights of publishers, authors,

parents, and students—including Plaintiffs—there is sufficient immediacy and

reality to warrant the issuance of a declaratory judgment finding that Section

1006.28’s     prohibition   on   content   that   describes   sexual      conduct

unconstitutional.

      234. Declaratory relief as to the constitutionality of Section 1006.28’s

prohibition on content that describes sexual conduct would clarify and settle

the legal relations in issue and would terminate and afford relief from the

uncertainty, insecurity, and controversy giving rise to the proceeding.

COUNT V – PLAINTIFFS PRH, HACHETTE, HARPERCOLLINS, AND
   HEIDI KELLOGG AS PARENT AND NEXT FRIEND OF R.K.
        AGAINST THE VOLUSIA COUNTY DEFENDANTS
  Statutory Construction – “Pornographic” Is Synonymous With
                      “Harmful To Minors”

      235. Paragraphs 1-163 are incorporated by reference as if fully set forth

herein.

      236. Section 1006.28 prohibits school library books that contain content

that “[i]s pornographic or prohibited under s. 847.012.”         Fla. Stat. s.

1006.28(2)(a)(2)(b)(I). Section 847.012 prohibits content that is “harmful to



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minors,” which is defined to conform to the Supreme Court’s standard for

content that is obscene as to minors. Fla. Stat. s. 847.012; 847.001(7).

      237. Properly construed, “pornographic” content under Section 1006.28

is a synonym for content that is “harmful to minors.”

      238. In Section 1006.28, the terms “pornographic” and “prohibited

under s. 847.012” are separated only by the word “or” because “pornographic”

and “harmful to minors” are synonyms or definitional equivalents. McCarthan

v. Dir. of Goodwill Indus.-Suncoast, Inc., 851 F.3d 1076, 1088 (11th Cir. 2017).

      239. The Supreme Court’s canons of statutory interpretation confirm

that the term “pornographic” should be construed as a synonym for “harmful

to minors.” The Supreme Court has instructed that the “elementary rule is

that every reasonable construction must be resorted to, in order to save a

statute from unconstitutionality” and that the “corollary doctrine” is that a

“statute must be construed, if fairly possible, so as to avoid not only the

conclusion that it is unconstitutional but also grave doubts upon that

score.” Rust v. Sullivan, 500 U.S. 173, 190-91 (1991) (emphasis, quotations,

and citations omitted).

      240. The Florida legislature’s decision to include content that is

“pornographic” in the same category as content that is “harmful to minors”

rather than in a separate category further demonstrates that the terms are

synonymous.

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      241. The State Defendants have construed the term “pornographic” to

be separate and distinct from the term “harmful to minors,” as evidenced by

the separate categories for “pornographic” content and content that is

“prohibited under s. 847.012” on the State Board-promulgated objection form,

which the State Board mandates all school districts, including Volusia County,

adopt. Under the State Board’s construction of Section 1006.28, which Volusia

County and the Volusia County Defendants have adopted, a book could contain

content that is “pornographic” but not be “prohibited under s. 847.012.” That

book, under Section 1006.28, would not be allowed in school libraries.

      242. The State Defendants’ construction of “pornographic” content, as

enforced by the Volusia County Defendants, violates the rights of the Publisher

Plaintiffs and the Author Plaintiffs under the Free Speech Clause of the First

Amendment, as incorporated by the Fourteenth Amendment, because it

interferes with the Publisher Plaintiffs’ and Author Plaintiffs’ ability to make

their books available to readers and to distribute constitutionally protected

books, and it chills those plaintiffs and others from engaging in protected

activity.

      243. The prohibition on “pornographic” content as construed by the

State Defendants and enforced by the Volusia County Defendants also violates

the rights of R.K. under the Free Speech Clause of the First Amendment, as

incorporated by the Fourteenth Amendment, because it interferes with her

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right to receive information in her school library, including The Bluest Eye, and

it chills her from engaging in protected activity. The unlawful conduct of the

Volusia County Defendants has injured the rights of R.K. and other students

attending school in Florida school districts to access information and ideas

within their school and classroom libraries.

      244. An actual and substantial controversy exists as to the meaning of

the term “pornographic” under Section 1006.28 between Plaintiffs on the one

hand and the Volusia County Defendants on the other hand.

      245. Because the State Defendants’ construction of the term

“pornographic” under Section 1006.28, as enforced by the Volusia County

Defendants, infringes on the First Amendment rights of publishers, authors,

parents, and students—including Plaintiffs—there is sufficient immediacy and

reality to warrant the issuance of a declaratory judgment finding that the term

“pornographic” as used in Section 1006.28 is synonymous with the term

“harmful to minors.”

      246. Declaratory relief as to the meaning of “pornographic” would

clarify and settle the legal relations at issue and would terminate and afford

relief from the uncertainty, insecurity, and controversy giving rise to the

proceeding.




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   COUNT VI – PLAINTIFFS PRH, HACHETTE, HARPERCOLLINS,
   AND HEIDI KELLOGG AS PARENT AND NEXT FRIEND OF R.K.
        AGAINST THE VOLUSIA COUNTY DEFENDANTS
           First Amendment, Impermissible Overbroad
                   Content-Based Restriction
                   (“Pornographic” Content)

      247. Paragraphs 1-163 are incorporated by reference as if fully set forth

herein.

      248. This Count is pled in the alternative to Count V, in the event the

construction of the term “pornographic” as synonymous with the term “harmful

to minors” is rejected.

      249. Section 1006.28’s prohibition on “pornographic” content is a

content-based restriction because it regulates the availability of books in school

libraries based on “the topic discussed, or the idea or message expressed”—

namely, whether the book contains undefined “pornographic content.” Reed v.

Town of Gilbert, 576 U.S. 155, 163 (2015). See also Reno v. Am. Civ. L. Union,

521 U.S. 844, 849, 868 (1997) (holding that statutory provisions restricting

“indecent” and “patently offensive” communications on the Internet were

“content-based blanket restriction[s] on speech”).

      250. The prohibition on “pornographic” content violates the Free

Speech Clause of the First Amendment to the U.S. Constitution, as

incorporated by the Fourteenth Amendment, because it is not reasonable in

light of the purpose of school libraries.


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      251. The prohibition on “pornographic” content is overbroad because it

prohibits a substantially broad swath of constitutionally protected material in

comparison to its very few legitimate applications.

      252. Section 1006.28 requires that books that contain “pornographic

content” be removed from school libraries or not selected for school libraries in

the first place.

      253. The prohibition on “pornographic” content prohibits any school

library book with content that could be considered “pornographic” without

regard to (a) whether the book when “taken as a whole, appeal[s] to the

prurient interest in sex,” (b) whether the book “portray[s] sexual conduct in a

patently offensive way,” or (c) whether the book when “taken as a whole, [has]

serious literary, artistic, political, or scientific value,” as that standard applies

to minors. Miller, 413 U.S. at 24.

      254. The prohibition on “pornographic” content applies to all books in

school libraries and all students across-the-board, prohibiting school districts

from considering the age of the potential reader. That restriction prevents all

students (including students who have reached the age of majority) from

checking out those books at school, rather than requiring parents who seek to

prevent their children from accessing those books to inform a school district

that their children—and only their children—should not be allowed to access

those books.

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      255. Further, the term “pornographic” is vague and confusing because

it provides no guidance as to what types of statements constitute a violation of

the prohibition on “pornographic” content. Because the State threatens to

penalize media specialists who do not comply with the law, those media

specialists—as well as other Florida educators—must decide whether to

remove books that purportedly contain “pornographic” content in violation of

the First Amendment rights of publishers, authors, students, and others, or to

risk loss of licensure for refusing to do so.

      256. As a result of the vagueness of the term “pornographic” when

combined with the substantial penalties that the State threatens to impose on

media specialists, constitutionally protected materials are and will be

suppressed in much greater numbers than unprotected material and First

Amendment rights are chilled, injuring Plaintiffs and others.

      257. The prohibition on “pornographic” content violates the rights of the

Publisher Plaintiffs and the Author Plaintiffs under the Free Speech Clause of

the First Amendment, as incorporated by the Fourteenth Amendment, because

it interferes with the Publisher Plaintiffs’ and Author Plaintiffs’ ability to make

their books available to readers and to distribute constitutionally protected

books, and it chills those plaintiffs and others from engaging in protected

activity.



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      258. The prohibition on “pornographic” content also violates the rights

of R.K. under the Free Speech Clause of the First Amendment, as incorporated

by the Fourteenth Amendment, because it interferes with her right to receive

information in her school library and it chills her from engaging in protected

activity.

      259. Heidi Kellogg wants her child R.K., a student in Volusia County,

to be able to check out and read from R.K.’s school or classroom libraries books

that have been targeted for removal or removed under Section 1006.28’s

prohibition on “pornographic” content, including The Bluest Eye. Heidi Kellogg

also wants R.K. to be able to possess, read, and discuss those books in school

without incurring the stigma associated with having, reading, or discussing

books that have been falsely branded as “pornographic” or otherwise

inappropriate.

      260. R.K. likewise wants to be able to check out and read from her

school or classroom libraries books that have been targeted for removal or

removed under Section 1006.28’s prohibition on “pornographic” content,

including The Bluest Eye. R.K. also wants to be able to possess, read, and

discuss those books in school without incurring the stigma associated with

having, reading, or discussing books that have been falsely branded as

“pornographic” or otherwise inappropriate.



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        261. R.K. intended to check out these books from her school or

classroom libraries this school year, but she has been unable to do so as a result

of the prohibition on “pornographic” content.

        262. The Volusia County Defendants are responsible for enforcing the

State mandate that school libraries not contain books with “pornographic”

content.

        263. The unlawful conduct of the Volusia County Defendants has

injured the rights of R.K. and other students attending school in Volusia

County to access information and ideas within their school and classroom

libraries. It has also stigmatized other students as it has stigmatized R.K.

        264. An actual and substantial controversy as to the constitutionality

of Section 1006.28’s prohibition on “pornographic” content exists between

Plaintiffs on the one hand and the Volusia County Defendants on the other

hand.

        265. Because Section 1006.28’s prohibition on “pornographic” content

infringes on the First Amendment rights of publishers, authors, parents, and

students—including Plaintiffs—there is sufficient immediacy and reality to

warrant the issuance of a declaratory judgment finding that Section 1006.28’s

prohibition on “pornographic” content is unconstitutional.

        266. Declaratory relief as to the constitutionality of Section 1006.28’s

prohibition on “pornographic” content would clarify and settle the legal

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relations at issue and would terminate and afford relief from the uncertainty,

insecurity, and controversy giving rise to the proceeding.

 COUNT VII – PLAINTIFFS PRH, HARPERCOLLINS, MACMILLAN,
 SIMON & SCHUSTER, PICOULT, THE GUILD, AND JUDITH ANNE
        HAYES AS PARENT AND NEXT FRIEND OF J.H.
        AGAINST THE ORANGE COUNTY DEFENDANTS
          First Amendment, Impermissible Overbroad
                   Content-Based Restriction
            (Content That Describes Sexual Conduct)

      267. Paragraphs 1-163 are incorporated by reference as if fully set forth

herein.

      268. Section 1006.28’s prohibition on content that describes sexual

conduct is a content-based restriction because it regulates the availability of

books in school libraries based on “the topic discussed, or the idea or message

expressed”—namely, whether the book contains a description of sexual

conduct. Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015). See also Reno v.

Am. Civ. L. Union, 521 U.S. 844, 849, 868 (1997) (holding that statutory

provisions restricting “indecent” and “patently offensive” communications on

the Internet were “content-based blanket restriction[s] on speech”).

      269. The prohibition on content that describes sexual conduct violates

the Free Speech Clause of the First Amendment to the U.S. Constitution, as

incorporated by the Fourteenth Amendment, because it is not reasonable in

light of the purpose of school libraries.



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      270. The prohibition on content that describes sexual conduct is

overbroad because it prohibits a substantially broad swath of constitutionally

protected material in comparison to its very few legitimate applications.

      271. The prohibition on content that describes sexual conduct is

overbroad because it covers any book with content that describes sexual

conduct for all students of all age groups without regard to (a) whether the

book when “taken as a whole, appeal[s] to the prurient interest in sex,” (b)

whether the book “portray[s] sexual conduct in a patently offensive way,” or (c)

whether the book when “taken as a whole, [has] serious literary, artistic,

political, or scientific value,” as that standard applies to minors. Miller, 413

U.S. at 24.

      272. The prohibition on content that describes sexual conduct applies

to all books in school libraries and all students across-the-board, prohibiting

school districts from considering the age of the potential reader.          That

restriction prevents all students (including students who have reached the age

of majority) from checking out those books at school, rather than requiring

parents who seek to prevent their children from accessing those books to

inform a school district that their children should not be allowed to access those

books.

      273. Further, the term “describes sexual conduct” is vague and

confusing because it provides no guidance as to what types of statements

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contain sufficient descriptions of sexual conduct or what level of detail is

necessary to constitute content that “describes sexual conduct.” Because the

State threatens to penalize media specialists who do not comply with the law,

those media specialists—as well as other Florida educators—must decide

whether to remove books that purportedly contain content that describes

sexual conduct in violation of the First Amendment rights of publishers,

authors, students, and others, or to risk loss of licensure for refusing to do so.

      274. As a result of the vagueness of the term “describes sexual conduct”

when combined with the substantial penalties that the State threatens to

impose on media specialists, constitutionally protected materials are and will

be suppressed in much greater numbers than unprotected material and First

Amendment rights are chilled, injuring Plaintiffs and others.

      275. The prohibition on content that describes sexual conduct violates

the rights of the Publisher Plaintiffs and the Author Plaintiffs under the First

and Fourteenth Amendments to the U.S. Constitution because it interferes

with their ability to make their books available to readers and to distribute

constitutionally protected books, and it chills those plaintiffs and others from

engaging in protected activity.

      276. The prohibition on content that describes sexual conduct also

violates the rights of J.H. under the Free Speech Clause of the First

Amendment, as incorporated by the Fourteenth Amendment, because it

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interferes with his right to receive information in his school library and it chills

him from engaging in protected activity.

      277. Judith Anne Hayes wants her child J.H., a student in Orange

County, to be able to check out and read from J.H.’s school or classroom

libraries books that have been targeted for removal or removed Section

1006.28’s prohibition on content that describes sexual conduct, including Love

in the Time of Cholera. Judith Anne Hayes also wants J.H. to be able to

possess, read, and discuss those books in school without incurring the stigma

associated with having, reading, or discussing books that have been falsely

branded as “pornographic” or otherwise inappropriate.

      278. J.H. likewise wants to be able to check out and read from her school

or classroom libraries books that have been targeted for removal or removed

under Section 1006.28’s prohibition on content that describes sexual conduct,

including Love in the Time of Cholera. J.H. also wants to be able to possess,

read, and discuss those books in school without incurring the stigma associated

with having, reading, or discussing books that have been falsely branded as

“pornographic” or otherwise inappropriate.

      279. J.H. intended to check out these books from his school or classroom

libraries this school year, but he has been unable to do so as a result of Section

1006.28’s prohibition on content that describes sexual conduct.



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      280. The Orange County Defendants are responsible for enforcing the

State mandate that school libraries not contain books with content that

describes sexual conduct.

      281. The unlawful conduct of the Orange County Defendants has

injured the rights of J.H. and other students attending school in Florida school

districts to access information and ideas within their school and classroom

libraries. It has also stigmatized other students as it has stigmatized J.H.

      282. An actual and substantial controversy as to the constitutionality

of Section 1006.28’s prohibition on content that describes sexual conduct exists

between Plaintiffs on the one hand and the Orange County Defendants on the

other hand.

      283. Because Section 1006.28’s prohibition on content that describes

sexual conduct infringes on the First Amendment rights of publishers, authors,

parents, and students—including Plaintiffs—there is sufficient immediacy and

reality to warrant the issuance of a declaratory judgment finding that Section

1006.28’s     prohibition   on   content   that   describes   sexual      conduct

unconstitutional.

      284. Declaratory relief as to the constitutionality of Section 1006.28’s

prohibition on content that describes sexual conduct would clarify and settle

the legal relations in issue and would terminate and afford relief from the

uncertainty, insecurity, and controversy giving rise to the proceeding.

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                            PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

       A.   Set this matter for a speeding hearing pursuant to Federal Rule of

Civil Procedure 57 at the earliest possible date.

       B.   Enter a declaratory judgment that Section 1006.28’s prohibition

on content that “describes sexual conduct” is unconstitutional because it

abridges rights protected by the First Amendment to the U.S. Constitution.

       C.   Enter a declaratory judgment that the term “pornographic” in

Section 1006.28 is synonymous with the term “harmful to minors” as defined

by Section 847.001(7) or, in the event the construction of the term

“pornographic” as synonymous with the term “harmful to minors” is rejected,

that   Section   1006.28’s    prohibition   on      “pornographic”   content   is

unconstitutional because it abridges rights protected by the First Amendment

to the U.S. Constitution.

       D.   Award Plaintiffs the costs of this action.

       E.   Award Plaintiffs their reasonable attorneys’ fees and other

expenses pursuant to 42 U.S.C. § 1988; and

       F.   Grant such other relief as the Court deems just and proper.




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Dated: August 29, 2024
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